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   7

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   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,              Case No. 2:20-CV-9091-PA-AS
  13                    Plaintiff,              DIRECT EXAMINATION TRIAL
                                                DECLARATION OF ROB
  14          v.                                WALLACE
  15    THRIVE CAUSEMETICS, INC.,               Judge: Hon. Percy Anderson
                                                Trial Date: November 9, 2021
  16                    Defendant.              Courtroom: 9A
  17

  18

  19         Rob Wallace, upon his oath and subject to the penalty of perjury, declares as
  20   follows:
  21         1.     I make this Declaration containing my direct examination testimony in
  22   support of Plaintiff Thrive Natural Care, Inc. (“Thrive” or “Plaintiff”) in the bench
  23   trial against Defendant Thrive Causemetics, Inc. (“TCI” or “Defendant”). I am over
  24   18 years of age. The matters set forth herein are of my own personal knowledge if
  25   called upon to testify as to such matters, I could and would do so.
  26         A.     Expert Credentials
  27         2.     A true and correct copy of my CV is attached hereto. My relevant
  28   experience is described in detail in my CV, but I will briefly summarize it here.
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   1         3.     I am currently the Managing Partner of Best of Breed Branding
   2   Consortium, an omni-channel branding consultancy that also focuses on all the
   3   branding issues involved in this case.
   4         4.     Prior to my current position, I was the Managing Partner for more than
   5   30 years of one of the branding industry’s most respected brand identity strategy
   6   and design firms, Wallace Church & Co., where I had specific and significant
   7   experience with the skincare market. Based on this experience, I have highly
   8   specialized knowledge of how marketers create and establish brands, how
   9   consumers interpret brand messaging, how they develop awareness and perceptions
  10   of brands and all the other marketing/branding issues in this case.
  11         5.     In my career, I have been actively involved in hundreds of brand
  12   naming, brand identity, brand messaging, product design, package design, and web
  13   development assignments for dozens of leading consumer product and service
  14   companies. For example, my firm and I have developed brand messaging for such
  15   companies as Coca-Cola, Procter & Gamble, PepsiCo, Pfizer, Nestle, Johnson &
  16   Johnson, Target and more than 100 other national and global brand owners.
  17         6.     Of specific relevance to the products in question in this case, I have
  18   been involved in consulting with numerous skincare and personal care brands such
  19   as L’Oréal, Revlon, Dove, Jergens, St. Ives, Suave, and Burt’s Bees and several
  20   other skincare companies of equal caliber. In these assignments my team and I
  21   created the brand identities in the form of their graphic package design. We also
  22   provided strategic direction on their brand messaging that was then used to
  23   integrate advertising, social media, promotion, and all other brand messaging. As
  24   part of these assignments, I participated in developing, fielding and/or analyzing
  25   well over one thousand consumer surveys and research projects. As a result, I have
  26   unique knowledge of how brand identity, package design and brand messaging
  27   affect consumer perceptions, how they shape consumer relationships with brands
  28   and how they drive consumer purchasing.
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   1         7.     I served on the Board of Directors of The Design Management
   2   Institute, the largest global organization in the brand design and strategy industry,
   3   for 10 years. There I founded and co-chaired the Design Value Project, which
   4   focused on determining the return on investment of brand messaging and brand
   5   identity. As such I have been referred to as “the thought leader in quantifying brand
   6   design’s value.” I have delivered keynote presentations on this topic at more than
   7   50 branding industry symposia across the US, Canada, Europe, Latin America, and
   8   Asia. I have lectured at the graduate level of The Columbia School of Business, The
   9   SVA Masters in Branding Program, Georgetown University, University of Texas,
  10   Seton Hall, and other educational institutions.
  11         8.     My testimony and opinions have been accepted by and admitted in
  12   proceedings both before the U.S. District Courts and also the USPTO Trademark
  13   Trial and Appeal Board. I have served as an expert witness on more than 70 cases
  14   concerning intellectual property infringement, trademark and trade dress
  15   infringement, marketing research, false or deceptive advertising and brand
  16   messaging, and other marketing/branding industry issues. In such capacity I have
  17   designed and conducted court-compliant surveys for many of these cases. I have
  18   been deposed and/or testified in court as an expert witness more than 30 times. A
  19   listing of my recent legal expert witness cases is attached with my CV.
  20         B.     Background
  21         9.     I understand Plaintiff began selling its “Thrive” brand of skincare
  22   products in or about 2013. Based on my review of Plaintiff’s website,
  23   www.thrivecare.co, I understand that Plaintiff sells an array of different skincare
  24   products all of which bear the “Thrive” brand and name. I reviewed a screenshot of
  25   Plaintiff’s “all products” page from its website that has been marked as Trial
  26   Exhibit 229, a true and correct copy of which is attached hereto.
  27         10.    I understand Defendant began using the term “Thrive Causemetics” for
  28   its skincare products in question in 2018. Since then, Defendant has continued to
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   1   release numerous new skincare products, all under the “Thrive Causemetics” brand.
   2   This conclusion is supported by my review of Defendant’s website,
   3   www.thrivecausemetics.com along with a document produced by TCI containing
   4   its product release and pricing history. I reviewed of TCI’s “skincare” product
   5   pages from its website marked as Trial Exhibits 10 and 11 and a copy of TCI’s
   6   product list, including release dates and pricing, that has been marked as Trial
   7   Exhibit 4, true and correct copies of which are attached hereto.
   8         11.    I further understand that Plaintiff used the term “Thrive Tribe” and the
   9   related hash tag #THRIVETRIBE to advertise its products from 2014 to 2020.
  10   Defendant used the same term to advertise its products from 2017 to mid-2020. A
  11   screenshot of Defendant’s Instagram page showing its use of the #THRIVETRIBE
  12   hash tag in its advertising, which was produced by Defendant, has been marked as
  13   Trial Exhibit 36, a true and correct copy of which is attached hereto.
  14         12.    I was engaged by Plaintiff’s counsel to conduct two empirical studies
  15   designed to examine whether or not consumers of skincare products who purchase
  16   such items on the Internet would be confused between “Thrive” branded skincare
  17   products sold by Plaintiff (whether in its old or its new package design) and “Thrive
  18   Causemetics” branded skincare products sold by Defendant. Plaintiff’s and
  19   Defendant’s products are hereafter referred to as “the products in question.” I was
  20   also asked to conduct an analysis of other factors relevant to potential confusion
  21   between Plaintiff’s and Defendant’s skincare products based on the factors
  22   described in AMF, Inc. v. Sleekcraft Boats, 599 F.2d 341 (9th Cir. 1979) (the
  23   “Sleekcraft factors”).
  24         13.    I am being compensated in connection with my engagement in this
  25   proceeding at the rate of $400 per hour for report writing and $500 per hour for
  26   deposition and trial testimony. I have received no additional compensation for my
  27   work in this proceeding. My compensation is in no way dependent upon the
  28   outcome of this proceeding.
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   1         14.    My opinions consider the information provided to me, the survey
   2   findings, and my over 35 years of brand identity and brand valuation experience for
   3   a large number of consumer brands.
   4         C.     Summary of Consumer Survey Findings
   5         15.    To summarize the findings of the two consumer surveys I conducted
   6   with 1,200 respondents, 600 each, the findings of the old/original package study
   7   show a net confusion of 56.6% between Plaintiff’s “Thrive” skincare product in its
   8   original identity and package design (old package) and Defendant’s “Thrive
   9   Causemetics” skincare product, after being corrected for the average level of
  10   confusion observed between Plaintiff’s products and the two control brands. The
  11   findings of the new package study (new package) show a net confusion of 54.5%
  12   between Plaintiff’s “Thrive” skincare product in its current, new identity and
  13   package design and Defendant’s “Thrive Causemetics” skincare product, after
  14   being corrected for the average level of confusion observed between Plaintiff’s
  15   products and the two control brands.
  16         16.    Based on the results of these two court-compliant surveys and the
  17   confirmation of actual confusion among consumers, it is my conclusion that there is
  18   significant actual confusion between Plaintiff’s “Thrive” skincare brand in both its
  19   existing (old) and its current (new) package and Defendant’s “Thrive Causemetics”
  20   skincare brand.
  21         D.     Survey Methodology
  22         17.    Images of all pages of both surveys as they were presented to
  23   respondents have been marked as Trial Exhibits 348 and 349, true and correct
  24   copies of which are attached hereto. The survey programming instructions for both
  25   surveys have been marked as Trial Exhibits 346 and 347, true and correct copies of
  26   which are attached hereto. I am responsible for preparing the surveys and the
  27   programming instructions.
  28   ///
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   1                1.     Use of parties’ and control product images
   2         18.    The methodology used by both consumer studies involved the use of a
   3   “test” versus “control” experimental design where the products of two companies
   4   other than Plaintiff’s or Defendant’s products served as controls. The use of two
   5   different control products (i.e., Wldkat and Ursa Major) served to extend the
   6   generalizability of the findings. That is, examining the degree to which two
   7   different “control” skincare products are confused with Plaintiff’s products allows
   8   stronger validity and reliability in the test method. This is because the degree to
   9   which two non-infringing brands are confused with Plaintiff’s “Thrive” products
  10   can be compared to the degree to which Defendant’s “Thrive Causemetics”
  11   products are confused with Plaintiff’s products to derive a measure of the relative
  12   degree of confusion between the two brands.
  13         19.    The basis for the selected controls is that they replicate, as closely as
  14   possible, the products in question with the single exception of the issue being
  15   researched. In this case the issue in question is the “Thrive” name. Therefore, the
  16   names of the control products used in the survey were different (Wldkat and Ursa
  17   Major) while other aspects of the control product images—including the packaging
  18   appearance and coloring and website descriptions—were very similar to the content
  19   in the images of the parties’ products in question.
  20                2.     Squirt survey format
  21         20.    The surveys are based on the “Squirt methodology” found acceptable
  22   by the Ninth Circuit and designed to conform to the survey design preference of the
  23   Patent and Trademark Office Trademark Trial and Appeal Board. This survey
  24   format seeks to “replicate the consumer experience.” It allows the consumer to see
  25   examples of both products in question as they appear for sale on their own websites
  26   concurrently—and among a line-up of additional control products—as if these
  27   consumers were able to engage both products in question during the same purchase
  28   experience. I determined that this format was appropriate in light of strong evidence
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   1   that the parties’ products and links to the parties’ websites appeared together and
   2   side-by-side on the same computer screen with high regularity. Indeed, the parties’
   3   products in question commonly appear side-by-side or sequentially to consumers
   4   much more so than most products sold online, as explained in more detail below.
   5         21.    I reviewed Trial Exhibit 114, which is attached hereto and is a true and
   6   correct copy of a screenshot of a search on the Amazon.com website for “thrive
   7   cream” that returned on the first page of results images of Plaintiff’s skincare
   8   products next to Defendant’s Buildable Blur CC Cream. Likewise, Trial Exhibit
   9   115 is attached hereto and is a true and correct copy of a screenshot of a search on
  10   the Amazon website for “thrive skin,” which returned on the second page of the
  11   results images of Plaintiff’s skincare products next to Defendant’s Buildable Blur
  12   CC Cream. I conducted these searches during my deposition by Defendant
  13   immediately after clearing all data, all cookies, signing out of Amazon, and
  14   searching in “incognito” mode.
  15         22.    Additional evidence can be found in Trial Exhibit 238, which is
  16   attached hereto and consists of true and correct copies of screenshots I printed from
  17   searches I ran on my computer over approximately July 30, 2021, to August 3,
  18   2021, for terms relating to Plaintiff on popular search engines and comparison-
  19   shopping sites, including Google search, Google Shopping, Bing search, Bing
  20   Shopping, and Duck Duck Go Shopping. Some examples of these search results are
  21   shown below. For these searches, I also cleared all data and cookies so that my
  22   previous history could not be used for these searches.
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  24   ///
  25   ///
  26   ///
  27   ///
  28   ///
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   1                         Example 1 (Bing Shopping search)
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  17                        Example 2 (Google Shopping search)
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   1                             Example 3 (Google search)
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  13                          Example 4 (Bing mobile search)
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    1         23.    These screenshots indicate that a consumer searching on the major
    2   search engines for Plaintiff’s “Thrive” skincare products would almost certainly be
    3   presented with images of both parties’ skincare products and links to both parties’
    4   websites and purchase portals. That is true with regard to searches for Plaintiff like
    5   “Thrive skincare,” “Thrive natural care,” “amazon thrive natural care,” and even
    6   more targeted searches like “mens thrive natural care”. Even a consumer who
    7   conducted a more targeted search for Plaintiff’s company name and men’s products
    8   from Plaintiff would be likely to be presented with images of Defendant’s products
    9   together with Plaintiff’s. Moreover, in the product descriptions provided in online
   10   search results, Defendant’s primary product name only shows “Thrive [product
   11   name]”, e.g., “Thrive Skincare Set” and does not include the word “Causemetics”.
   12   In many cases, “Causemetics” is not even fully spelled out in the product
   13   description. The focus is clearly on the word “Thrive” for both Plaintiff’s and
   14   Defendant’s products.
   15         24.    These results were replicated in other online searches performed by
   16   Plaintiff’s CEO, Alex McIntosh, and Plaintiff’s counsel, which I reviewed in the
   17   course of conducting my analysis for this case. True and correct copies of these
   18   other search results screenshots have been marked as Trial Exhibits 123-125, 154-
   19   186, 235-237, and 311, all of which are attached hereto.
   20         25.    Importantly, the parties’ products in question appear side-by-side not
   21   just on search-engines, but on e-commerce platforms as well where consumers
   22   purchase products such as Amazon, Google Shopping, and Bing Shopping.
   23         26.    The fact that Defendant’s skincare products appear together with
   24   Plaintiff’s “Thrive” skincare products in Google and Bing searches for “Thrive”
   25   and skincare-related terms, and even for Plaintiff’s specific company name and for
   26   men’s products, creates a high likelihood that consumers will see the parties’
   27   products together when they are searching online for “Thrive” skincare products.
   28   These facts all support the propriety of my decision to follow the Squirt survey
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    1   format that showed images of the parties’ products in sequence along with control
    2   images.
    3            27.   Though my surveys asked respondents to compare Plaintiff’s and
    4   Defendant’s webpages showing the products in question, rather than an image of
    5   online search results, if anything the approach I chose resulted in lower rates of
    6   confusion than had I used images of online search results. The reason for this is that
    7   the images of the parties’ webpages used in the surveys included other indicia that
    8   could have triggered respondents to differentiate the companies—such as larger
    9   logos, different ad copy, and different site headers—which are not found in results
   10   returned from an online search engine. In search results, all that is shown are
   11   product images and a brief description (often with the “Causemetics” portion of
   12   Defendant’s name cut off). The surveys I conducted used the parties’ webpages and
   13   found high levels of confusion, which indicates that consumers would be just as or
   14   more likely to be confused if presented with search results showing the parties’
   15   products together. In addition, my decision to analyze the web pages in the surveys
   16   I conducted ensured that the stimuli replicated the actual purchase experience of the
   17   products in question.
   18            28.   Had I shown the products side by side on e-commerce and search
   19   engine pages, as suggested by Defendants, it would have only resulted in a higher
   20   percentage of confused respondents.
   21            29.   Each survey also tested the likelihood of consumer confusion between
   22   the products in question caused by both Plaintiff and Defendant using the term
   23   #THRIVETRIBE when showing an image of a skincare product in its Instagram
   24   posts.
   25                  3.    Survey question format
   26            30.   The sample selection, questions, questionnaire design, and
   27   interviewing procedures employed in the surveys were designed in accordance with
   28   the generally-accepted standards and procedures to meet the criteria for survey
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    1   trustworthiness detailed in the Manual for Complex Litigation, Fourth Edition,
    2   20014. This includes the choice of close-ended answers in the screener so as not to
    3   bias the respondent or make them aware of the screener criteria.
    4         31.    This test includes primary and control questions where the infringing
    5   material is eliminated so as to determine the level of confusion specifically caused
    6   by the infringing brand name and to extract any predetermined perceptions, or what
    7   the survey industry refers to as “survey noise.” As mentioned, all respondents saw
    8   the products in question in a lineup of four products including two control products,
    9   which are manufactured and sold by unrelated third parties. All four products, the
   10   products in question and the two control products, were then analyzed in
   11   comparison to one another. All stimuli was randomized to prevent order bias.
   12                4.     Survey qualifying universe
   13         32.    Given the products at issue, I determined that the appropriate universe
   14   for each of the two surveys would be comprised of 600 men and women between
   15   18 and 65 who (a) have purchased skincare products on the Internet within the last
   16   6 months, (b) plan to do so again within the next 6 months, (c) have used the
   17   Internet to search for products or services within the last month, (d) did not work in
   18   a related industry or have a close relative that did so, and (e) speak fluent English.
   19         33.    In addition to these screening questions, a series of control questions
   20   were then asked of all participants so as not to bias their responses by thinking that
   21   this survey was only about skincare products. All responses to these control
   22   questions qualified the respondent to proceed with the survey.
   23         34.    Respondents who were likely to have atypical knowledge of these
   24   brands or this industry were excluded, including individuals employed by an
   25   advertising agency, a consumer research firm, or a personal care product
   26   manufacturer, retailer, or distributor. Respondents whose family members were
   27   employed in these occupations were also excluded. Because the stimuli should be
   28   viewed at an appropriate size, anyone who was taking the survey on a tablet or a
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    1   phone was disqualified and only those taking the survey on a laptop or desktop
    2   computer were permitted to proceed.
    3          35.      Based on my experience and credentials as a survey expert, it is my
    4   opinion that the respondents meeting this survey’s screening requirements are
    5   representative of the relevant consuming public for both Plaintiff’s and Defendant’s
    6   products, with a focus on consumers who purchase products online.
    7                   5.    Survey sample size
    8          36.      I selected a non-probability sample of 600 qualified respondents for
    9   each survey. Non-probability samples of this size are and have been used to make
   10   consequential academic and business decisions and are also accepted into evidence
   11   in courts throughout the country.
   12                   6.    Interviewing medium – online survey
   13          37.      The consumer surveys here were conducted using the Internet. The use
   14   of Internet surveys is in accordance with generally accepted standards of procedure
   15   in the field.
   16          38.      The Internet was an especially appropriate interviewing medium for
   17   the inquiries in this survey because it required showing specific stimuli in a specific
   18   order to a representative sample of respondents meeting the screening requirements
   19   previously discussed. Additionally, and importantly: (a) personal interviews would
   20   have been prohibitively expensive, time consuming, and dangerous to perform
   21   during a worldwide pandemic, (b) telephone interviews would not have been
   22   possible because of the previously noted requirement to present visual stimuli, and
   23   (c) both Plaintiff and Defendant use the Internet as a vehicle for advertising and
   24   promoting their products/services.
   25                   7.    Survey fielding firm
   26          39.      The surveys were fielded by the internet survey firm, Illume, Inc.
   27   Illume is widely respected in the marketing research industry and has created
   28   hundreds of surveys that have been accepted by the courts and more than one
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    1   thousand surveys for the marketing and branding industries. Illume programmed
    2   the study using the Sawtooth Software’s Lighthouse Studio software suite as it does
    3   to program all of its surveys. Sawtooth Software has been providing market
    4   research data collection and analysis software since 1983. It uses IBM’s SPSS
    5   software for data analysis. SPSS has been widely used for over 50 years and
    6   recognized as the forerunner in data analysis software. Illume also uses Sawtooth
    7   Software’s web hosting services for hosting all of their surveys. All surveys are
    8   secure using TLS 1.2, AES with 128-bit encryption (High); ECDH_P256 with 256-
    9   bit exchange, which ensures optimal security.
   10         40.    Illume coordinated the respondent recruitment using the paneling firm
   11   Innovate MR. Innovate MR recruited respondents from a diverse blend of channels
   12   to ensure representativeness, including both online and offline publishers, social
   13   networks like Facebook, web and SMS databases, and advertising networks. They
   14   use a dynamic profiling system that captures and localizes data points based on
   15   geography and tracked respondent behavior longitudinally using advanced
   16   algorithmic solutions designed to evaluate their profile on an ongoing basis, which
   17   ensures accuracy and authenticity is maintained.
   18                8.     “Double blind” protocol
   19         41.    Because of the way the questions were crafted and because at no time
   20   were the parties’ names or identities disclosed or revealed to Illume or Innovate
   21   MR, neither the survey programmer nor the respondents knew the purpose of the
   22   survey. That is, no question suggested the survey’s sponsor or purpose. This
   23   “double blind” protocol means that neither the programmer nor the respondents
   24   could intentionally or unintentionally influence the results.
   25                9.     Qualifying questions
   26         42.    The survey began with a welcome statement that ensures the
   27   respondent that their responses will be kept confidential.
   28         43.    Possible respondents were then asked if they were taking the survey on
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    1   a laptop of desktop computer, a tablet, or a phone. Because of the nature of the
    2   visual stimuli being analyzed, only those who were taking the survey on a desktop
    3   or laptop were qualified to proceed.
    4          44.     Qualifying questions continued to ensure that all responses were
    5   genuine, honest, and not aided by outside knowledge. Those who answered “No”
    6   were terminated from the interview and their responses were not tabulated in the
    7   results.
    8          45.     Two qualifying questions ensured that the responses were wearing
    9   contacts or eyeglasses if they needed them. Those who responded that they needed
   10   contacts or glasses but would not guarantee that they would be wearing them during
   11   the test were terminated from the survey and their responses were not tabulated in
   12   the results.
   13          46.     Lastly, a final qualifying question further ensured the honesty of the
   14   responses and prevented guessing, acknowledging that it was appropriate to state
   15   that you don't know the answer rather than guess.
   16          47.     Those who answered “No” were terminated from the interview and
   17   their responses were not tabulated in the results.
   18                  10.    Confusion-related questions
   19          48.     Respondents were then provided with a lead-in statement encouraging
   20   respondents to view the following imagery as if they were shopping for the
   21   products shown, so as to best replicate the purchase experience.
   22          You are about to see images of four products, each featured as you would see
   23
               them when purchasing them.

   24
               Please view the following images as if you were shopping for these products
               with the possible intent to purchase them. For the questions, if you do not
   25
               have an opinion or are unsure of your opinion, it’s perfectly all right to say
               so.
   26          49.     After reading the text above, when respondents clicked on the
   27   “Continue” button, all 600 respondents who were taking the old package test were
   28
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    1   presented with the following images, consisting of screenshots of the product
    2   manufacturer’s point of sale website, in random order to prevent order bias.
    3                                         Image 1
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                                                                     DIRECT EXAMINATION TRIAL
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    1                                     Image 2
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   15                                     Image 3
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    1                                       Image 4
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   15         50.   Those taking the new package study were presented with this
   16   following two new package initial images and the same two additional control
   17   images shown above.
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                                                                   DIRECT EXAMINATION TRIAL
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    1                                     Image 1
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                                          Image 2
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                                                                DIRECT EXAMINATION TRIAL
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    1         51.     Exposing these four images to respondents was followed by an
    2   additional screening question to ensure that respondents were paying full attention
    3   and taking the survey in earnest.
    4         What type of products were shown in the images you just
              reviewed?
    5                Detergent
                     Shampoo
    6                Skincare products
                     Pet food
    7                Don’t know/no opinion
    8
              52.     Any responses that did not check skincare products were terminated
    9
        from the survey.
   10
              53.     This attention-check question was followed by the primary statement:
   11
              All of these products can be purchased online, but we are interested in who
   12         you believe makes each of these products, meaning their manufacturer or
              source.
   13

   14         54.     After reviewing this statement, images of two of the four products

   15   were then shown in a pair, adjacent to one another. This was repeated until each

   16   respondent had the opportunity to compare each of the four products to the other

   17   three products on a one-to-one basis. This allowed respondents to directly compare

   18   all four products to one another. These pairings of imagery were done in random

   19   order to prevent order bias. After each pair of images were shown, respondents

   20   were asked:

   21         Do you believe that these two products come from the same
              company/manufacturer/source?
   22               Yes, same company/manufacturer/source?
   23
                    No, different companies/manufacturers/sources?
                    Not sure/ don't know\
   24

   25         55.     The survey then asked the open-ended question, “Why do you say

   26   that?” so as to get a better understanding of the rationale behind the respondent’s

   27   earlier answer and to serve as a way of extracting survey noise or nonsensical

   28   answers.
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    1         56.    Those who answered “Different companies/manufacturers/sources” to
    2   the prior question were then asked a follow up question:
    3         If you said different companies, do you believe that these companies are
              affiliated, connected, or associated with each other?
    4              Yes, companies are affiliated, connected or associated
                   No, companies are not affiliated, connected or associated
    5              Not sure/ don't know
    6         57.    Again, this was followed by the open-ended question, “Why do you
    7   say that?” so as to get a better understanding of the rationale behind their earlier
    8   answer.
    9         58.    An attention check question was then asked to ensure respondents
   10   were paying full attention. This question asked them to: “Please enter the number
   11   865 in the box below.” Anyone who did not respond correctly was terminated from
   12   both surveys.
   13         59.    These questions were followed by a written scenario and follow-up
   14   question, which was presented to the respondents as follows:
   15         Please read the scenario below and answer the question that follows.
   16         When researching skincare products you notice an Instagram post showing a
              skin moisturizer with the hashtag #THRIVETRIBE. Later in the same search
   17         you see a second post with the hashtag #THRIVETRIBE also showing a
              picture of a skin moisturizer.
   18

   19
              Based on these posts, do you believe that they refer to the same products and
              come from the same company or companies that are affiliated, connected or
   20
              associated with one another - or from different companies that are not
              affiliated, connected, or associated?
   21
                      Yes, the products I ordered are from the same company or
   22                  companies that are affiliated, connected, or associated
                      No, the products I ordered are from different companies that are
   23                  not affiliated, connected, or associated
                      Not sure/ don't know
   24
              60.    This scenario is based on facts specific to the way the term “Thrive
   25
        Tribe” is used by both Plaintiff and Defendant. At the time respondents received
   26
        this scenario and question, they were not able to go back to prior questions they had
   27
        already answered. This prevented respondents from revising their answers
   28
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    1   regarding the product images after they had received additional information about
    2   the “Thrive Tribe” usage.
    3         61.    Lastly, all respondents were asked a series of demographic questions
    4   about their gender, the highest level of schooling they had achieved, what state they
    5   lived in, and their approximate household income level.
    6                11.   Use of controls and net confusion scores
    7         62.    Specific effort was made to be objective by recognizing potential,
    8   albeit inadvertent, biases and accounting for each of them beforehand. These
    9   responses are what researchers refer to as “noise,” that is, any exogenous and
   10   difficult-to-measure issues such as respondents’ preconceived opinions and/or those
   11   who had recently encountered the stimuli and have an unnaturally heightened
   12   awareness of it beyond the general public, and so forth.
   13         65.    The Reference Guide on Survey Research states, that the control group
   14   view the same stimuli without the allegedly deceptive material. As mentioned
   15   earlier, there were two images of two control products that did not feature the
   16   “Thrive” brand name. The survey was able to determine the level of confusion that
   17   these control products had with Plaintiff’s product. This level of confusion as then
   18   subtracted from the confusion reported between the products in question to result in
   19   net confusion.” This is further described in the following section.
   20         E.     Results of Consumer Surveys
   21                1.    A significant majority of respondents believed that the
   22                      old/original Thrive package and the Thrive Causemetics
   23                      product are confusingly similar
   24         63.    The tabulated results in the chart below compare the level of confusion
   25   reported among each of the four pairs of products, i.e., the two products in question
   26   and the two control products. Of specific interest 425 of the 600 respondents or
   27   71% of all respondents believe that the products in question come from the same
   28   company/manufacturer or source.
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   16         64.    In addition, 17 respondents believe that the products may come from
   17   different but affiliated sources, as indicated in the chart below.
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                                                                        DIRECT EXAMINATION TRIAL
                                                                     DECLARATION OF ROB WALLACE
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    1         65.    When the 425 respondents who believe that the products in question
    2   come from the same source are added to the 17 who believe that they come from
    3   affiliated sources, it results in 442 of the 600 respondents or 73.6% of all
    4   respondents who report that the products in question are confusingly similar.
    5         66.    67.    This measure is accurate at the 99th level of confidence,
    6   meaning if this survey were taken 100 times, 99 of those surveys would show the
    7   same result within a 1% to 5% margin. This reaffirms the significance of this
    8   finding and its strong support for the conclusion that Defendant’s products cause
    9   actual confusion with Plaintiff’s products among the relevant public.
   10         67.    As mentioned, in order to extract the level of confusion caused
   11   exclusively by Defendant’s use of the “Thrive” name at issue, the average
   12   confusion scores from the control set are subtracted from the primary set scores to
   13   result in what the industry refers to as an average “net confusion” score.
   14         68.    The survey results report a level of confusion between 15.5% and
   15   18.6% between all the four products tested. When these numbers are averaged, the
   16   resulting average level of control confusion is 17.02%.
   17         69.    When this 17.02% is subtracted from the primary set’s 73.6% level of
   18   confusion, it results in a net confusion score of 56.6%, or a clear majority of all
   19   respondents who believe that the products in question are confusingly similar.
   20   Again, this measure refers only to the net confusion when compared to the average
   21   level of confusion within all control products.
   22         70.    As mentioned, responses to the open-ended questions, “Why do you
   23   say that?” further confirm the rationale behind the respondents’ answers. Typical
   24   responses to these questions include reference the name of the products in question,
   25   Thrive, as driving this confusion. The following direct quotes are indicative of the
   26   very many responses that reference the products’ name, Thrive, as causing this
   27   confusion:
   28   ///
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    1                - Because the name Thrive is the same..
    2                - They both say Thrive.
    3                - They have the same brand name
    4                - Both are from Thrive
    5                - they both have the same brand name of thrive and are skincare
                       products
    6

    7         71.    I reviewed all of the open-ended questions to determine if any of them
    8   were nonsensical or communicated an extraordinary knowledge of this case so as to
    9   be termed “survey noise”. I found only four responses that possibly could be
   10   indicative of a respondent not taking the survey in earnest. Respondents 79, 220,
   11   589, 594 all indicated responses that could potentially be perceived to be
   12   nonsensical. I highlighted these nonsensical responses in red in the raw data
   13   provided with this report. Of these four, only one reported that the products in
   14   question come from the same source. Out of an abundance of caution when I extract
   15   this one respondents’ data from the overall data findings, it results 73.1% rather
   16   than 73.6% primary confusion or 56.1% rather than 56.6% net confusion.
   17   Regardless of whether these responses were either genuine or not, their impact on
   18   the overall level of confusion is negligible.
   19                2.     Significant majority of respondents believed that the new
   20                       Thrive package skincare product and Thrive Causemetics
   21                       skincare product are confusingly similar
   22         72.    The tabulated results in the chart below compare the level of confusion
   23   reported among each of the four pairs of products, i.e. the two products in question
   24   using the “new” package images and the two control products. Of specific interest
   25   414 of the 600 respondents or 69% of all respondents believe that the products in
   26   question come from the same company/manufacturer or source.
   27   ///
   28   ///
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   15         73.    In addition, 19 respondents believed that the products may come from
   16   different but affiliated sources, as indicated in the chart below.
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                                                                        DIRECT EXAMINATION TRIAL
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    1         74.    When the 414 respondents who believe that the products in question
    2   come from the same source are added to the 19 who believe that they come from
    3   affiliated sources, it results in 433 of the 600 respondents or 72.1% of all
    4   respondents who report that the products in question are confusingly similar.
    5         75.    This measure is accurate at the 99th level of confidence, meaning if
    6   this survey were taken 100 times, 99 of those surveys would show the same result
    7   within a 1% to 5% margin. This reaffirms the significance of this finding and its
    8   strong support for the conclusion that Defendant’s products cause actual confusion
    9   with Plaintiff’s products among the relevant public.
   10         76.    As mentioned, in order to extract the level of confusion caused
   11   exclusively by Defendant’s use of the “Thrive” name at issue, the average
   12   confusion scores from the control set are subtracted from the primary set scores to
   13   result in what the industry refers to as an average “net confusion” score.
   14         77.    The new package survey results report a level of confusion between
   15   15.5% and 18.6% between all the four products tested. When these numbers are
   16   averaged, the resulting average level of control confusion is 17.7%.
   17         78.    When this 17.7% is subtracted from the primary set’s 72.1% level of
   18   confusion, it results in a net confusion score of 54.4%, or a clear majority of all
   19   respondents who believe that the products in question are confusingly similar.
   20   Again, this measure refers only to the net confusion when compared to the average
   21   level of confusion among all control products.
   22         79.    As mentioned, responses to the open-ended questions in this new
   23   package study, “Why do you say that?” further confirm the rationale behind the
   24   respondents’ answers. Typical responses to these questions include reference the
   25   name of the products in question, Thrive, as driving this confusion. The following
   26   direct quotes are indicative of the very many responses that reference the products’
   27   name, Thrive, as causing this confusion. Capitalization, syntax and spelling errors
   28   are captured based on the actual responses.
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    1                - Both called thrive.
    2                - THEY BOTH ARE THRIVE PRODUCTS.
    3                - They have the same name
    4                - They both say Thrive cosmetics
    5                - The brand name is Thrive on both.
    6         80.    I reviewed all of the open-ended questions to determine if any of them
    7   were nonsensical or communicated an extraordinary knowledge of this case so as to
    8   be termed “survey noise”. I found only one response that possibly could be
    9   indicative of a respondent not taking the survey in earnest. Respondent 79 reported
   10   responses that could be potentially perceived to be nonsensical. I highlighted this
   11   nonsensical response in red in the raw data provided with this report. Out of an
   12   abundance of caution when I extract this respondents’ data from the overall data
   13   findings, it results 73.5% rather than 73.6% primary confusion or 54.3%
   14   rather than 54.4% net confusion. Regardless of whether this respondent’s data
   15   was either genuine or not, its impact on the overall level of confusion is negligible.
   16                3.     Additional confusion caused by Defendant’s use of the term
   17                       #THRIVETRIBE in its Instagram postings
   18         81.    As mentioned above, in 2018 Defendant began using the hashtag
   19   #THRIVETRIBE in its Instagram postings associated with pictures of its product.
   20   In order to determine if this caused any additional confusion, a follow up question
   21   was asked in both the old and new package surveys. Consumer survey responses
   22   indicate that Defendant’s use of the term “Thrive Tribe” also created confusion
   23   between the parties’ brands.
   24         82.    The survey that featured Plaintiff’s old/original package indicated that
   25   a significant majority of respondents (80.2%) believed that this action caused
   26   further confusion between Plaintiff’s and Defendant’s products in question, as
   27   outlined in the chart below:
   28   ///
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   10         83.    Likewise in the survey that featured Plaintiff’s new/current package
   11   also indicated that a significant majority of respondents (78.3%) believed that this
   12   action caused further confusion between Plaintiff’s and Defendant’s products in
   13   question, as outlined in the chart below:
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   23         84.    Confusion reported by both the old and new brand identity/package
   24   design and this additional Instagram messaging clearly indicates an exceptionally
   25   strong likelihood that a majority of the relevant consuming public assume that
   26   Defendant’s and Plaintiff’s products come from the same source.
   27   ///
   28   ///
                                                                      DIRECT EXAMINATION TRIAL
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    1         F.     Consumers Are Likely to Use Online Search to Find Plaintiff’s
    2                Products and to See Defendant’s Competing Products
    3         85.    As noted above, I have personally worked with consumer skincare
    4   brands such as Jergen’s, Dove, St. Ives, Suave, Burt’s Bees, and others, including
    5   conducting market research regarding consumer purchase decisions in the skincare
    6   category and understanding consumer brand awareness and purchase behavior. This
    7   included providing strategic direction on their brand messaging that was then used
    8   to integrate advertising, social media, promotion, and all other brand messaging, as
    9   well as developing, fielding, and/or analyzing over one thousand consumer surveys
   10   and research projects.
   11         86.    I understand from the CEO of Plaintiff, Alex McIntosh, that Plaintiff
   12   sells 95% of its skincare products online. Defendant has stated it sells 100% of its
   13   skincare products online.
   14         87.    In my experience, consumers very commonly look for products via
   15   online search on popular search engines such as Google, whether they hear about
   16   products from a friend, an ad, or media coverage. That is particularly so when the
   17   brand is most commonly sold and advertised on the Internet.
   18         88.    In my opinion and experience, most consumers are likely to seek out
   19   Plaintiff’s products via an online search for terms like “Thrive skincare” and
   20   “Thrive Natural Care”. Far from being a low probability that a consumer would
   21   ever go to Google or Amazon and perform a search for “thrive skincare” or
   22   something similar, it is actually the most common method a consumer would use to
   23   begin the process of purchasing Plaintiff’s or Defendant’s skincare products.
   24         89.    Consumer searching on the major search engines for Plaintiff’s
   25   “Thrive” skincare products would almost certainly be presented with images of
   26   both parties’ skincare products and links to both parties’ websites and purchase
   27   portals. Even a consumer who conducted a more targeted search for Plaintiff’s
   28   company name and men’s products from Plaintiff would be likely to be presented
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    1   with images of Defendant’s products together with Plaintiff’s. Moreover, in the
    2   product descriptions provided in online search results, Defendant’s primary product
    3   name only shows “Thrive [product name]”, e.g., “Thrive Skincare Set” and does
    4   not include the word “Causemetics”. In many cases, “Causemetics” is not even
    5   fully spelled out in the product description. The focus is clearly on the word
    6   “Thrive” for both Plaintiff’s and Defendant’s products.
    7          90.   When Defendant’s products, also referred to as “Thrive” products are
    8   shown together, side-by-side, and intermingled with Plaintiff’s products in the
    9   search results, it is likely a consumer could be confused and click on links to
   10   Defendant’s products believing them to originate from or be affiliated with
   11   Plaintiff.
   12          G.    Standard of Care for Inexpensive Skincare Products is Relatively
   13                Low
   14          91.   Having worked on launching or optimizing more than three dozen
   15   leading consumer skincare brands, such as Jergen’s, Dove, St. Ives, Suave, Burt’s
   16   Bees and many others, I have been involved in market research that confirms the
   17   consumer purchase decision process in the skincare category.
   18          92.   I have reviewed the product prices of Plaintiff and Defendant, which
   19   both fall in the mid-range “affordable premium” segment of the skincare market.
   20   These prices range from about $10 to about $65.
   21          93.   In my opinion and experience, relatively inexpensive personal care
   22   products such as the products in question require a lower degree of care in
   23   consumers making their purchase decisions. The skincare category is often driven
   24   by impulse purchasing, rather than a highly educated and well-considered purchase
   25   process. This lower degree of care driving which products to purchase results in a
   26   higher chance of the consumer unintentionally purchasing a potentially confusing
   27   product assuming it to be the product they intended to buy. This is confirmed
   28   through the findings of the consumer surveys I conducted.
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    1         H.     Problems With Defendant’s Consumer Survey
    2         94.    I have reviewed the consumer survey conducted by Defendant’s
    3   expert, Dr. Itamar Simonson, and noted that Defendant’s survey contains numerous
    4   methodological issues and does not properly measure consumer confusion under
    5   the circumstances present in this case.
    6                1.     Eveready format ignored reality of parties’ products
    7                       frequently appearing together
    8         95.    Dr. Simonson’s choice of the Eveready-type survey format is founded
    9   on a critical error; placement of the parties’ products side-by-side is not just a
   10   possibility, instead it is extremely common in reality, as shown in the exhibits
   11   identified above. Dr. Simonson ignored the fact that both companies primarily or
   12   only sell online, and it is difficult to do a search on a search engine or at an online
   13   marketplace for terms relating to “Thrive” skincare products without seeing the two
   14   products directly side-by-side.
   15         96.    Dr. Simonson admits that these kind of searches are exactly how
   16   consumers would find products when searching online. Dr. Simonson should have
   17   considered and given weight to the fact that the products in question appear
   18   together in the results of nearly every search for relevant terms on every popular
   19   online search engine and shopping marketplace. Instead, Dr. Simonson’s analysis
   20   begins and ends with the fact that Defendant’s products are primarily sold from its
   21   own website where Plaintiff’s products are not sold. This error has contaminated
   22   his entire analysis, choice of survey format, and survey results.
   23         97.    Dr. Simonson admitted that it is proper to use the Squirt survey
   24   method “involving side-by-side or sequential presentation of the two marks at
   25   issue . . . if the marks at issue are often encountered together by prospective
   26   purchasers.” Dr. Simonson admits that the fact that “two products are mentioned or
   27   sold on the Internet” is relevant to the selection of survey methodology when “the
   28   two products are often seen together in the same online stores.”
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    1         98.    I further note that Dr. Simonson has written with regard to the Squirt
    2   survey format that “[a]n advantage of this format is that it represents probably the
    3   most direct measure of confusion short of asking people whether they are likely to
    4   confuse the two marks.” I. Simonson, “The Effect Of Survey Method On
    5   Likelihood Of Confusion Estimates: Conceptual Analysis And Empirical Test,”
    6   The Trademark Reporter, 83 TMR 364 (1993) (the “Effects Article”) (emphasis
    7   added). In his Effects Article, Dr. Simonson reported that the Squirt format
    8   produced results that most closely correlated with the results of a simulated choice
    9   methodology for testing point of sale confusion that Dr. Simonson proposed as
   10   superior to all other methods.
   11         99.    With regard to this case, Dr. Simonson stated his belief that the
   12   products in question appearing side-by-side was “based on a highly unlikely
   13   scenario” that was “detached from typical reality.” Dr. Simonson’s consumer
   14   survey completely ignores the plain and obvious fact that the parties’ products in
   15   question are highly likely to be presented to consumers side-by-side or sequentially.
   16   Dr. Simonson gave zero weight to search engine results or e-commerce platform
   17   searches for terms relevant to Plaintiff or Defendant, which is a critical oversight
   18   given that searching online is how most consumers in the modern economy find
   19   and purchase products.
   20         100. Dr. Simonson conducted a consumer survey which was purportedly in
   21   the Eveready format. In Dr. Simonson’s survey, a respondent was presented with an
   22   image of Plaintiff’s (or a control) homepage and asked: (1) which company made
   23   the products on that page; (2) whether that company made any other brands or
   24   products; (3) whether that company had any business affiliation or connection to
   25   another company; and (4) whether that company had to obtain permission or
   26   approval to sell the products shown.
   27         101. At no points in Dr. Simonson’s survey did it present to respondents
   28   either Defendant’s “Thrive Causemetics” brand or mark or any information
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    1   regarding Defendant.
    2         102. For Dr. Simonson’s survey to have found any level of a confusion, a
    3   respondent by definition was required to have prior knowledge of Defendant’s
    4   “Thrive Causemetics” brand and the ability to recall it to the top of their mind in
    5   order to write “Thrive Causemetics” on his or her own as being related to Plaintiff’s
    6   homepage. Because few people did so, Dr. Simonson found no confusion.
    7         103. But in reality, all Simonson’s test measured was how many of the
    8   respondents had the term “Thrive Causemetics” at the top of their mind, despite
    9   never having seen the name at any point during the survey and despite having no
   10   evidence that a single respondent has ever even heard of Thrive Causemetics.
   11         104. Dr. Simonson stated with regard to his survey format: “As indicated,
   12   the Eveready survey format is the standard approach when the two products at issue
   13   are not encountered together or one after the other in the great majority of real-
   14   world situations.” According to Dr. Simonson, his “survey employed the proper
   15   Eveready methodology for estimating reverse confusion in cases where the two
   16   marks at issue are rarely encountered by consumers at about the same time.”
   17         105. Dr. Simonson’s survey was critically flawed due to his lack of
   18   understanding of how consumers are likely to see the parties’ marks and the
   19   products in question.
   20         106. As explained above, it is far from rare that consumers would encounter
   21   both parties’ marks at the same time. Any consumer conducting an online search or
   22   looking in an online marketplace for “Thrive” branded skincare products is almost
   23   certain to be presented with ads, images, and/or links to Plaintiff’s and Defendant’s
   24   products in a side-by-side or sequential format. That alone is enough to render Dr.
   25   Simonson’s survey valueless.
   26                2.     Simonson survey failed to test baseline brand awareness
   27         107. There is another problem with Dr. Simonson’s survey as used in the
   28   context of this case. As Dr. Simonson himself explained in his Effects Article, the
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    1   Eveready survey format is “less likely to reveal confusion if respondents think that
    2   the junior mark is the senior mark . . . and do not know the name (or products) of
    3   the company that puts out the senior mark.” Effects Article at 369. Use of an
    4   Eveready-type survey in the context of marks that are not famous can lead to a
    5   significant underestimation of the likelihood of confusion. Id.
    6         108. Dr. Simonson stated that he would only find consumer confusion in his
    7   survey if a respondent was able to recall the “Thrive Causemetics” brand with zero
    8   prompting after seeing a picture of Plaintiff’s “Thrive” product. However, Dr.
    9   Simonson admits that he never conducted any analysis to determine the “baseline
   10   awareness” of Defendant’s “Thrive Causemetics” mark or Plaintiff’s “Thrive” mark
   11   among the relevant consumer audience. Therefore, Dr. Simonson has no idea
   12   whether any consumer would be likely to know of Defendant in order to call up that
   13   name in response to the survey questions. He did nothing to empirically evaluate
   14   the strength of Defendant’s mark or consumers’ ability to recall it from memory.
   15         109. In other words, Dr. Simonson’s survey was simply a fill-in-the-blank
   16   game which would only accept “Thrive Causemetics” as an answer but entirely
   17   lacked any reference to how many consumers would be capable of providing that
   18   answer.
   19         110. For these reasons, Dr. Simonson’s selection and use of the Eveready
   20   survey format render his survey and conclusions unreliable and unsupported by
   21   sound methodological principles.
   22                3.    Dr. Simonson ignored respondents’ answers that showed
   23                      actual confusion between the parties
   24         111. To make matters worse, Dr. Simonson ignored clear evidence of actual
   25   confusion between Plaintiff and Defendant in the survey he conducted.
   26         112. There were only 209 total respondents in the test group.1 After
        1
   27     It is notable that my surveys tested a total of 1,200 respondents for confusion
        between the products in question, while Dr. Simonson’s survey tests a small
   28   fraction of that amount. This is another reason why my surveys are more accurate
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    1   removing the respondents that gave no answer at all, or clearly nonsense answers
    2   (e.g., answered with nothing except “Tide Pods”), 199 respondents remain.
    3         113. At least nine of the remaining 199 respondents in the test group did in
    4   fact express confusion between Plaintiff and Defendant, demonstrating a confusion
    5   rate of over 4.5%, even using Simonson’s extremely flawed survey that was
    6   designed to show no confusion at all. This number is notable given that the survey
    7   was designed such that only respondents who could think of Defendant’s name or
    8   mark on their own, with zero prompting, could even begin to express any
    9   confusion. More importantly, however, Dr. Simonson ignored these examples of
   10   confusion and instead insisted that his survey shows a 0% confusion rate. That error
   11   and blindness to confusion evidence demonstrates Dr. Simonson’s own strong bias
   12   and lack of objectivity in the design and analysis of his survey.
   13         114. After seeing a screenshot of Plaintiff’s homepage in Dr. Simonson’s
   14   survey, one respondent wrote that the company that makes the products shown on
   15   the webpage was “Thrive Cosmetics”. See Simonson Survey Data, Row 164,
   16   Column R. This is clearly a reference to Defendant that Dr. Simonson chose to
   17   ignore. It is not required that a respondent spell Defendant’s name correctly if it
   18   otherwise identifies Defendant in its answer.
   19         115. Another respondent, when asked whether Plaintiff makes any other
   20   products, the respondent wrote that Plaintiff makes “mascara,” “cc cream,” and
   21   “eyeliner.” Of course, those are completely consistent with Defendant’s products,
   22   not Plaintiff’s products. See Simonson Survey Data at Cell 139. This respondent
   23   very clearly demonstrates confusion between the parties.
   24         116. Another respondent wrote that Plaintiff also sells “eyelash[es]”. See
   25   Simonson Survey Data at Cell 187. While Plaintiff does not sell eyelashes,
   26   Defendant is well-known for selling fake eyelashes; indeed, those are the first
   27   products Defendant ever sold. This respondent is also demonstrating confusion with
   28   representations of the true amount of confusion among consumers.
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    1   Defendant because the respondent identified a product that is closely associated
    2   with Defendant but not Plaintiff.
    3         117. Another respondent, after viewing Plaintiff’s homepage, wrote that
    4   “they make sustainable makeup products”. Simonson Survey Data at Cell 159, Row
    5   AS (emphasis added). Again, this is likely a reference to Defendant since Plaintiff
    6   does not sell makeup, but Defendant does. That is especially probable given that
    7   Dr. Simonson’s survey never used the term “makeup” or showed any images of
    8   makeup.
    9         118. Similarly, another respondent wrote after viewing Plaintiff’s
   10   homepage that Plaintiff also sells “make up”. See Simonson Survey Data at Cell
   11   190. Of course, it is Defendant and not Plaintiff who sells makeup. Again, this
   12   respondent is demonstrating actual confusion.
   13         119. Three other respondents also wrote that Plaintiff sells “Cosmetics”.
   14   See Simonson Survey Data at Rows 97, 100, 192. These are almost certainly
   15   references to Defendant since neither the survey nor Plaintiff’s homepage which
   16   was shown to the respondents included the term “cosmetics”.
   17         120. Among the most interesting of the responses that Dr. Simonson
   18   ignored was that of a respondent who, after viewing Plaintiff’s homepage, wrote
   19   that the name of the company who sells Plaintiff’s products is “bodnar”. See
   20   Simonson Survey Data at Cell 204, Row R. There is no other possible conclusion to
   21   draw from this than that the respondent was referencing the founder and CEO of
   22   Defendant, Karissa Bodnar. This is another clear example of confusion that Dr.
   23   Simonson utterly failed to take into account or even note in his Report.
   24         121. Thus, nine out of 199 respondents who gave viable responses, with
   25   zero prompting and without once seeing any reference whatsoever to Defendant, its
   26   “Thrive Causemetics” mark, or makeup/cosmetics in the survey, gave responses
   27   that demonstrated actual confusion between Plaintiff and Defendant. That Dr.
   28   Simonson instead concluded that zero of the respondents expressed confusion—
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    1   even going so far as to ignore responses like “Thrive Cosmetics” and “bodnar”—
    2   demonstrates his own bias in constructing and analyzing this survey.
    3                    4.   Dr. Simonson erred in selecting survey audience
    4          122. Selection of the “universe” of consumers to be studied in a survey is of
    5   critical importance. See, e.g., 4 J. Thomas McCarthy, McCarthy on Trademarks and
    6   Unfair Competition (Sep. 2007) at §32:159. “Selection of the proper universe is a
    7   crucial step, for even if the proper questions are asked in a proper manner, if the
    8   wrong persons are asked, the results are likely to be irrelevant.” Id. Using an over-
    9   inclusive universe skews the results by introducing irrelevant data.
   10          123. In cases such as this one, where the vast majority (approaching 100%)
   11   of products in question are sold online, the proper universe consists of consumers
   12   who have purchased skincare products online in the past and plan to purchase
   13   skincare products online in the future.
   14          124. In my consumer surveys in this case, only respondents who stated that
   15   they have purchased skincare products online in the past six months and planned to
   16   purchase skincare products online against in the next six months were approved to
   17   complete the survey. By contrast, Dr. Simonson’s survey never asked respondents
   18   if they had purchased skincare products before. Therefore, Dr. Simonson’s survey
   19   encompassed a universe of respondents who may have never purchased skincare
   20   products—either online or elsewhere—at any time in the past. That is another
   21   critical flaw.
   22          125. Dr. Simonson was purportedly conducting his survey to test for reverse
   23   confusion. Yet Dr. Simonson’s selected universe of consumers completely failed to
   24   account for prior purchasers of skincare products. Dr. Simonson’s consumer
   25   universe also completely failed to limit respondents to those who could potentially
   26   be customers of Defendant, i.e., people who had purchased skincare products online
   27   in the past.
   28          126. Dr. Simonson’s failure to determine whether the survey respondents
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    1   had ever purchased skincare products in the past is fatal because there is no
    2   evidence that any of the Simonson survey respondents would have ever been
    3   exposed to or encountered Defendant’s “Thrive Causemetics” brand (or, for that
    4   matter, Plaintiff’s brand). Indeed, the selected respondents may have had no idea
    5   how to even search for or purchase skincare products online at the time they
    6   answered the survey.
    7         127. As noted above, Dr. Simonson’s survey could only have found
    8   confusion if the respondent, with zero prompting, recalled the name “Thrive
    9   Causemetics” on their own. By failing to select for respondents who even had the
   10   possibility of having encountered Defendant’s brand in the past, Dr. Simonson
   11   ensured that his survey was filled with respondents who had no ability to recall
   12   “Thrive Causemetics” or express confusion in the first place. This is a critical
   13   oversight that led to a dramatic underreporting of actual confusion.
   14         128. For the reasons stated herein, it is my opinion that the consumer
   15   surveys I designed were properly conducted and demonstrate significant actual
   16   confusion of well above 50% between Plaintiff’s “Thrive” skincare products and
   17   Defendant’s “Thrive Causemetics” skincare products.
   18         129. By contrast, the survey conducted by Defendant’s expert is
   19   methodologically flawed and also ignored numerous instances of actual confusion.
   20   That survey does not refute my findings that there is significant actual confusion
   21   between the parties’ brands.
   22         I declare under penalty of perjury that the foregoing is true and correct.
   23         Executed on October 25, 2021, at New York, New York.
   24

   25

   26
                                               Rob Wallace
   27

   28
                                                                       DIRECT EXAMINATION TRIAL
                                                                    DECLARATION OF ROB WALLACE
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    1
                                   CERTIFICATE OF SERVICE
    2
        Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
    3   Case No.: 2:20-cv-9091-PA-AS
    4   IT IS HEREBY CERTIFIED THAT:
    5          I, the undersigned, declare under penalty of perjury that I am a citizen of the
        United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
    6   Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
    7            I have caused service of the following documents, described as:
    8    DIRECT EXAMINATION TRIAL DECLARATION OF ROB WALLACE
    9   on the following parties by electronically filing the foregoing on October 26, 2021,
        with the Clerk of the District Court using its ECF System, which electronically
   10   notifies them.
   11   Rollin Ransom (SBN 196126)                      Attorneys for Defendant
        rransom@sidley.com
   12   Ryan Stasell (SBN 307431)
        rstasell@sidley.com
   13   Paula Salazar (SBN 327349)
        psalazar@sidley.com
   14   SIDLEY AUSTIN LLP
        555 West Fifth St., Ste. 4000
   15   Los Angeles, CA 90013
   16   I declare under penalty of perjury under the laws of the United States of America
        that the foregoing is true and correct.
   17

   18
         Date:     10/26/2021               By: /s/ Thomas Dietrich
   19                                           Thomas Dietrich
   20

   21

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   23

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                                                                       DIRECT EXAMINATION TRIAL
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                             Rob Wallace CV
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  Curriculum Vitae of Robert Wallace


   917-860-0319
   Rob@bestofbreedbranding.com
   www.RobWallaceExpert.com

   As the former managing partner of Wallace Church, Inc., one of the most recognized and
   accomplished brand identity strategy and design consultancies, I have more than thirty years of
   expertise in all aspects of branding strategy and design analysis for national and global brands.
   My core expertise is the ability to create and differentiate brand experiences that drive consumer
   awareness and purchase behavior.

   Clients include Procter & Gamble, Coca-Cola, Unilever, Pfizer, Dell, Pepsico, Revlon, Target, The
   Home Depot, Johnson & Johnson, Bacardi, E&J Gallo, Mattel, Anheuser Busch, PNC Bank,
   Kroger, L’Oreal, Scotts/Miracle Gro and more than 40 national/global consumer product
   marketers of equal caliber.

   Areas of Expertise:
   Trademark/Trade Dress
   Package/Product Design
   Licensing
   Intellectual Property
   Marketing Strategy
   Brand Communications
   Visual Brand identity
   Advertising Claims
   Consumer Research
   Copyright Damages
   Consumer Research
   Planning/Analysis



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  Industry Experience:
  Food                                         Personal Care
  Beverage                                     OTC and Rx Drugs
  Home Products                                HBA/Beauty Care
  Wellness                                     Technology Brands
  Toys/Sporting Goods                          Hard Goods
  Beer/Wine/Spirits                            B to B
  Apparel                                      Retailer Brands
  Financial Services

  Background:
  Best of Breed Branding Consortium, LLC                     June 2014 – Present
  Managing Partner
    • Actively manage a consortium of branding communications consultancies.
    • Provide strategic consulting on all branding issues including brand name development,
        brand identity, graphic and structural package design, trademark and copyright
        development, and integration across advertising and all other brand communications.

  Wallace Church, Inc.,                                     1985 – June 2014
  Managing Partner, Strategy
   • Actively manage one of the world's most respected brand identity design consultancies.
   • Provide strategic consulting on all branding issues including brand name development,
       brand identity, graphic and structural package design, trademark and copyright
       development, and integration across advertising and all other brand communications.

  Peter Cris Advertising, Inc., New York, NY                  1984 – 1985
  Vice President, Marketing
    • Provided both the strategic and creative force for this regional advertising agency.
    • Acted as primary liaison between clients and creative department.
  Modular Marketing, Inc., New York, NY                     1982 – 1984
  Senior Account Manager
   • Managed select client relationships through all creative and strategic aspects of project
       management for this marketing communications consultancy.
   • Designed and developed brand promotion programs, corporate communications and brand
       identity assignments.

  Grey Advertising, Inc., New York, NY                        1981 – 1982
  Senior Account Manager
    • Actively participated in one of the world's largest advertising agencies through the Market
       Horizons function, consulting with core clients on advertising and new brand
       communications opportunities.

  Education:
  MBA coursework, The New School, New York, NY               1981 – 1983
  BA, English, Gettysburg College, Gettysburg, PA            1977 – 1981

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  Professional Activities:
    • Expert speaker on brand identity design at more than 40 marketing, design and research
       industry events across the US, UK, Europe, Latin America and Asia
    • Author of numerous articles and published case histories on brand identity design in the
       Wall Street Journal, Forbes, Marketing Week, Design Management Journal, Package
       Design Magazine and numerous other publications,
    • Co-Author “Really Good Package Design Explained,” Rockport Press, 09
    • Lecturer on brand identity at Columbia Business School, Georgetown University, Seton
       Hall, University of Texas, School of Visual Arts Masters in Branding and other MBA
       programs of leading universities
    • Board of Directors, Design Management Institute, 2010-Current
    • Co-Chair of the Design Management Institute Design Value Project, 2012-Current
    • Distinguished Faculty Member, Path to Purchase Institute, speaker at national conference
       for the last 8 years
    • Founder “The Strategic Design Firm Leadership Summit” attached to the BXP Live event
  Professional Memberships:

  Board of Directors, the Design Management Institute,
  Co-Chair Design Value Project, the Design Management Institute
  Distinguished Faculty, Path to Purchase Institute
  American Marketing Association
  Color Marketing Group
  American Institute of Graphic Arts




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  List of Recent Prior Cases

  I have served as an expert witness on branding related issues on more than 65 prior occasions.
  In the last four years, I have been served on:


       • Anti-Aging Essentials, Inc., v. Trufood MFG, INC. F/K/A Tsudis Chocolate Co and
       Belmont Confection.,U.S. District Court, District of Pennsylvania, 2016

       • Pur Beverages v. Pom Wonderful, U.S. District Court, Southern District of California, 2016

       • Fireclean, LLC v. George Fennell and Steel Shield Technologies, Inc., U.S. District Court,
       Eastern District of Virginia, 2016

       • Smart Vent Products Inc v. Crawl Space Door Systems, Inc, U.S. District Court, New
       Jersey, 2016

       • SC Johnson & Sons, Inc. v. Minigrip, LLC U.S. District Court, Western District of
       Wisconsin, 2017

       • Gunterville Breathables, INC. v. Global Glove and Safety Manufacturing, Inc., U.S.
       District Court, Northern District of Alabama, 2017

       • Texas Outhouse, Inc. and The           Gainsborough Corporation v. Fresh Can, LLC., U.S.
       District Court, Southern District of Texas, 2017

       • StudioThink, LLC v. Unitrex, LTD., Court of Common Pleas, Cuyahoga County Ohio,
       2017

        • Lokai Holdings, LLC v. Twin Tiger USA, LLC, Southern District of New York, 2017

        • K&M International, Inc, v. Rhode Island Novelty, Inc., U.S. District Court, District of
        Rhode Island, 2017

        • Simon Nicholas Richmont, Patent No: 7,429,827 Re-examination Control Number
        90/013,860, U.S. Patent and Trademark Office, 2017

        • Turn Key Wine Brands LLC v. CustomVine, et al, U.S. District Court, Central District of
        California, 2017

        • CNY, LLC v. CCNY Inc., U.S. District Court, Southern District of New York, 2017

        • Redbox Automated Retail, LLC v. Xpress Retail LLC., U.S. District Court, Northern
        District of Illinois, 2018

        • Simon Nicholas Richmond in two Reexamination proceedings in the United States Patent
        and Trademark Office (USPTO), Reexamination Control No. 90/013,860 and 90/013,861,
        2018



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       • Roger Cofelt Jr., et als, v. The Kroger Company, et al, U.S. District Court, Central District
       of California, 2018

       • Quality Products, Inc., v. Verka Food Products LTD et al, U.S. District Court, Western
       District of Washington, Seattle, 2018

       • Shaya Eidelman v. Sun Products Corp and Costco Wholesale Corp, U.S. District Court
       Southern District of New York, 2018

       • Flying Nurses International LLC v. Flyingnurse.com et al. U.S. District Court, Eastern
       District of Virginia, 2018

       • GDM Enterprises, LLC (Pure Cosmetics) v Astral Health & Beauty, INC., (PUR
       Cosmetics),U.S. District Court, Western District of Missouri, 2019

       • BAMA ICEE LLC et al v J&J Snack Foods Corp et al., US District Court, Northern District
       Of Alabama, 2019

       • The Black & Decker Corporation, et al v HARBOR FREIGHT TOOLS USA, INC., Report
       for Mediation, 2019

       • 1231 Barrage Inc et al v. Automobile Dealers Assoc of Greater Philadelphia et al,
       Philadelphia County Court of Common Pleas, 2019

       • Christopher Hayden v. Eagles Nest Outfitters, Inc. et al US District Court
       Western District of North Carolina, 2019

       • Chantel Ray Finch v Weigh Down Workshop Ministries, Inc. et al, US District Court,
       Eastern District Of Virginia, Norfolk Division, 2019

      • Mambu Bayoh v. AfroPunk Fest 2015, et al., U.S. District Court, Southern District of New
      York, 2019

      • Scorocs LLC v. Innovations for Poverty Action Inc., US District Court, Western District Of
      Missouri, At Kansas City, 2019

      • Good L Corp v. Fasteners for Retail, Inc., US District Court, Middle District of Tennessee,
      2019

      • Sunny Days Entertainment LLC v. Traxxas L.P., US District Court, District of South
      Carolina Greenville Division, 2019

      • Venus Et Fleur, LLC v. Affordable Luxury NY, Inc dba Pret A Fleur, et al, US Court,
      Southern District of New York, 2019

      • Rhino Metals Inc, v Sturdy Gun Safe Inc, US District Court, District Idaho, 2019

      • American Customer Satisfaction Index, LLC v Genesys Telecommunications
      Laboratories, et al, US District Court, Eastern District of Michigan, Southern Division, 2020


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      • I.M. Wilson, Inc v Obchtchestvo S Ogranitchennoy Otvetsvennostyou “Grichko”, et al, US
      Distinct Court, Eastern District of Pennsylvania, 2020

      • Country Life v. The Hain Celestial Group, Inc, US District Court, Eastern District of New
      York, 2020

      • New NGC, Inc, et al v. Alpinebay, Inc, US District Court, For the Northern District of
      Illinois, Eastern Division, 2020

      • P&P Imports v. Johnson Enterprises, LLC et al, US District Court for the Central District of
      California, 2020

      • New NGC, Inc, et al v. Alpinebay, Inc, US District Court, for the Northern District of
      Illinois, Eastern Division, 2020

      • Otter Products, LLC et al v. Bigbirds, LLC et als , US District Court, for the District of
      Colorado, 2020

      • Sulzer Mixpak, A.D. v. DXM Co LTD et als , US District Court, for the Southern District of
      New York, 2020

      • Jalinski Advisory Group, Inc. v. JBL Financial Services, Inc., US District Court, for the
      Eastern District of Missouri, Eastern Division, 2020

      • American Medical Experts, LLC v. Ronny Nizar Hamad, Prime Medical Experts, LLC et al,
      US District Court, for the Eastern District of Virginia, 2020

      • Restoration Hardware, Inc., et al., , v. Bungalow Home, LLC, US District Court, for the
      Southern District of Ohio, Eastern Division, 2020

      • American Customer Satisfaction Index, LLC v ForeSee Results, et al, US District Court,
      Eastern District of Michigan, Southern Division, 2021

      • Jalinski Advisory Group, Inc. v. Franklin Advisory Group, Inc., US District Court, for the
      Eastern District of Pennsylvania, 2021




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  Partial List of Authored Books and Articles

         I have written a number of peer-reviewed brand identity articles, contributed to branding
  texts, and have been interviewed by The Wall Street Journal, The New York Times, and more
  than a dozen branding and marketing communications industry publications. I have spoken at
  more than 30 marketing communications and design industry events across North and South
  America, the UK, and Europe and Asia. I have lectured on brand identity at Columbia Business
  School, Georgetown, The University of Texas, and other leading universities. I have conducted
  webinar events with more than 1,600 participants on the topic of design process and design
  thinking.

         I am on the Board of Directors of the Design Management Institute, the most prominent
  global design industry association, and I co-chair its Design Value Project. I am a Distinguished
  Faculty Member of the Path to Purchase Institute. Please see my current CV for a listing of
  these and other accomplishments.

        I coauthored a book entitled “Really Good Packaging Explained”, released in 2009 by
  Rockport Publishers. I was also a contributing author with Robin Landa and the book ”Build Your
  Own Brand”, Rockport, 2013. I also wrote the forward to Christopher Durham’s book, “52 The
  My Private Brand Project”, Folio28, 2014

         In the past 15 years I have written the following articles:

     •   “The Tropicana Trouble and How It May Have Been Prevented”, Package Digest, 2009
     •   “Blood, Sweat and Tiers, Building Optimal Brand Identity Architectures”, GAIN, AIGA
                 Journal of Business and Design, June 2008
     •   “Heinz Turns Iconic Authenticity Into Fresh Relevance”, The Hub, September 2007
     •   “Design ROI Envisioned”, Step Inside Design, July/August 2007
     •   “Be Smart Be Simple”, Design Management Review, Spring 2006
     •   “Proving our Value: Measuring Package Design’s Return on Investment”, Design
                 Management Journal, Summer 2001
     •   “The High Cost of Saving Money”, Package Digest, Summer 2000
     •   “Icons, Your Brand’s Visual Essence, Brandweek, Spring 2000

        I have coauthored an article with Pamela De Cesare, former Associate Director of
  Package Communications, Kraft Foods, Inc., entitled “Amazing Pace, Shared Views on the
  Design Process”, Design Management Journal, Spring 2000.

       In the past several years I have posed more than two dozen articles and posts on Wallace
  Church’s web site: http://wallacechurch.tumblr.com/ these include but are not limited to:

             • “Quantifying Design’s Value”

             • “Design RI Re-Envisioned”,

             • “Cutting through the Sea of Sameness”

             • “Architecting a Brand Experience”


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Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 49 of 244 Page ID #:7431

  CONFIDENTIAL


            • “The National Color” and more

          I am the founder of the Linked In Group- “Relevant Disruption in Branding”
  https://www.linkedin.com/groups?home=&gid=7422931 where I have posted more than 10
  articles including:

            • “Right Here, Right NOW!”

            • “Fashion Touchdown”

            • “Color is Key”

            • “Cool Customization”

            • “Relevance for Right Now”

            • “Shape Language”

            • “Visual Vampires”




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                                                Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 {C.D. Cal.)

Product                                                       Variant                                                First Sale    Price      Channel
Jackie Faux Lashes™                                           Jackie                                                   9/11/2014   $       26 thrivecausemetics.com online store
Robin Faux lashes™                                            Robin                                                    9/12/2014   $       26 thrivecausemetics.com online store
Kristy Faux Lashes™                                           Kristy                                                   9/17/2014   $       26 thrivecausemetics.com online store
give2give                                                     Faux Lashes+ Adhesive/ Robin                             12/2/2014   $       28 thrivecausemetics.com online store
give2give                                                     Faux Lashes+ Adhesive/ Jackie                             1/3/2015   $       28 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Lauren (Black Matte)                                     5/13/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Ella (Brown Matte)                                       5/14/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Hoda (Slate Grey Matte)                                  5/14/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Talia {Navy Matte)                                       5/14/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Giuliana (Plum Shimmer)                                  5/25/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyebrow Liner™                            Audrey {Dark Blonde - Medium Brunette)                    6/5/2015   $       23 thrivecausemetics.com online store
Infinity Waterproof Eyebrow Liner™                            Christina {Light - Dark Blonde)                           6/5/2015   $       23 thrivecausemetics.com online store
give2give                                                     Eyeliner/ Ella (brown matte)                              7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Eyeliner/ Giuliana (plum shimmer)                         7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Eyeliner/ Hoda (slate grey matte)                         7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Eyeliner/ Talia (navy matte)                              7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Faux Lashes+ Adhesive/ Kristy                             7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Adhesive/ Infinity Lash Adhesive                         7/11/2015   $       28 thrivecausemetics.com online store
Triple Threat Color Stick™                                    Joy (Gold Shimmer)                                       4/18/2016   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                    Dionne (Brick Red Shimmer)                               4/20/2016   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                    Maggie {Rose Shimmer)                                    4/20/2016   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                    Olivia (Coral Shimmer)                                   4/20/2016   $       36 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Na lie (Chocolate Brown Shimmer)                          7/6/2016   $       22 thrivecausemetics.com online store
Glossy Lip Mark™                                              JoAnn {Plum Mauve)                                       8/24/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Misty (Coral)                                            8/24/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Narima {Dark Berry)                                      8/24/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Jean (Baby Pink Shimmer)                                 8/26/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Pamela {Brown Mauve)                                     8/26/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Ruth (Taupe Shimmer)                                     8/26/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Taylor (Bright Red)                                      8/30/2016   $       26 thrivecausemetics.com online store
Focus Eyeshadow Palette™                                      Palette 2                                                9/15/2016   $       36 thrivecausemetics.com online store
Glossy Lip Mark™                                              Karlie (Bright Raspberry)                                9/20/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Maya (Deep Blue Red)                                     9/20/2016   $       26 thrivecausemetics.com online store
Focus Eyeshadow Palette™                                      Palette 1                                                9/24/2016   $       36 thrivecausemetics.com online store
Brilliant Eye Brightener™                                     Stella (Champagne Shimmer)                              10/31/2016   $       24 thrivecausemetics.com online store
Elastic Hair Tie Trio+ Custom Thrive Magnets                  Hair Tie Trio+ Magnets                                    1/3/2017   $       15 thrivecausemetics.com online store
Custom Thrive Magnet                                          Multicolored                                             1/15/2017   $        3 thrivecausemetics.com online store
Custom Thrive Magnet                                          Turquoise                                                1/15/2017   $        3 thrivecausemetics.com online store
Infinity Waterproof Eyebrow Liner™                            Serena (Dark Brunette - Black)                           2/28/2017   $       23 thrivecausemetics.com online store
Cosmo Power Multi-Dimensional Strobing Blush™                 Angelina {Golden Brick Shimmer)                          3/14/2017   $       34 thrivecausemetics.com online store
Cosmo Power Multi-Dimensional Strobing Blush™                 Rosie (Copper Rose Shimmer)                              3/14/2017   $       34 thrivecausemetics.com online store




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                                                                       TCI_00026950
                                   Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 64 of 244 Page ID #:7446
                                               Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 {C.D. Cal.)

Product                                                      Variant                                                First Sale    Price        Channel
Sun Chaser Blur+ Sculpt Bronzing Powder™                     Eos (Satin)                                              3/14/2017   $       33 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                     Rhea (Matte)                                             3/14/2017   $       33 thrivecausemetics.com online store
Lip Mate High-Shine Reviving Topper™                         Glinda (Rose Gold Shimmer)                               4/12/2017   $       24 thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Extra Large                                               5/9/2017   $       20 thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Extra Small                                               5/9/2017   $       20 thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Large                                                     5/9/2017   $       20 thrivecausemetics.com online store
Liquid Lash Extensions Mascara™                              Brynn (Rich Black)                                       5/10/2017   $       24   thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Medium                                                   5/13/2017   $       20   thrivecausemetics.com online store
Brilliant Eye Brightener™                                    Aurora (Rose Gold Shimmer)                               5/30/2017   $       24   thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                Lizzie (Moss Green Matte)                                6/14/2017   $       22   thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Small                                                     7/1/2017   $       20 thrivecausemetics.com online store
Perfect Eye Palette Warm Neutrals™                           Warm Neutrals                                            7/20/2017   $       45 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Aspen (Deep Cranberry)                                   8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Chihiro (Dusty Rose Mauve)                               8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Dayle (Warm Rose Mauve)                                  8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Kaisa (Blush Mauve)                                      8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Maureen (Plum Mauve)                                     8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Meghan (Muted Taupe)                                     8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Paige (Deep Raspberry)                                   8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Rowan (Plum Rose Mauve)                                  8/10/2017   $       22 thrivecausemetics.com online store
Cosmo Power 3D Strobing Highlighter™                         Dawn (Rose Gold Shimmer)                                 8/29/2017   $       34 thrivecausemetics.com online store
Cosmo Power 3D Strobing Highlighter™                         Liberty (Pale Gold Shimmer)                              8/29/2017   $       34 thrivecausemetics.com online store
Water Bottle                                                 Makeup Spill                                              9/6/2017   $       27   thrivecausemetics.com online store
Water Bottle                                                 Quote                                                     9/6/2017   $       27   thrivecausemetics.com online store
Headliner Lipstick™                                          Alyse (Black Cherry)                                     9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Aquila (Warm Rose Mauve)                                 9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Bizzy (Dusty Rose)                                       9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Emii (Plum Mauve)                                        9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Ilene (Pink Taupe)                                       9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Kennedy (Blue Red)                                       9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Stephanie (True Beige)                                   9/19/2017   $       26   thrivecausemetics.com online store
She Believed iPhone Case                                     iPhone 7 and 8                                          11/10/2017   $       15   thrivecausemetics.com online store
Be Bold iPhone Case                                          iPhone 7 Plus and 8 Plus                                11/11/2017   $       15   thrivecausemetics.com online store
She Believed iPhone Case                                     iPhone 7 Plus and 8 Plus                                11/13/2017   $       15   thrivecausemetics.com online store
Precision Crease-Defining Eyeshadow Brush™                   Precision Crease-Defining Eyeshadow Brush               11/29/2017   $       20   thrivecausemetics.com online store
Diffusing Angled Bronzer Brush™                              Diffusing Angled Bronzer Brush                          11/30/2017   $       28   thrivecausemetics.com online store
Diffusing Round Highlighter Brush™                           Diffusing Round Highlighter Brush                       11/30/2017   $       24 thrivecausemetics.com online store
Precision All-Over Eyeshadow Brush™                          Precision All-Over Eyeshadow Brush                      11/30/2017   $       22 thrivecausemetics.com online store
Precision Angled Eyeliner Brush™                             Precision Angled Eyeliner Brush                         11/30/2017   $       16 thrivecausemetics.com online store
Precision Lid-Defining Eyeshadow Brush™                      Precision Lid-Defining Eyeshadow Brush                  11/30/2017   $       20 thrivecausemetics.com online store
Precision Smudge Eyeliner Brush™                             Precision Smudge Eyeliner Brush                         11/30/2017   $       18 thrivecausemetics.com online store



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Product                                                        Variant                                                First Sale    Price      Channel
She Believed iPhone Case                                       iPhone X                                                 12/1/2017   $       15 thrivecausemetics.com online store
Thrive Causemetics Makeup Clutch                               BAG                                                      12/2/2017   $        7 thrivecausemetics.com online store
Thrive Causemetics Makeup Clutch                               GIFT                                                     12/2/2017   $        7 thrivecausemetics.com online store
Be Bold iPhone Case                                            iPhone 7 and 8                                          12/13/2017   $       15 thrivecausemetics.com online store
Be Bold iPhone Case                                            iPhone X                                                  2/4/2018   $       15 thrivecausemetics.com online store
Lash Upgrade Lash Curler™                                      Lash Upgrade Lash Curler                                 2/21/2018   $       20 thrivecausemetics.com online store
Infinity Waterproof Liquid Eyeliner™                           Lauren (Black Demi-Shine)                                3/18/2018   $       24 thrivecausemetics.com online store
Mascara Spill Bag                                              GIFT                                                      4/9/2018   $        4 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Devin (Black Cherry)                                     4/21/2018   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Em (Pink Blush)                                          4/21/2018   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Ghizlan (Plum Mauve)                                     4/21/2018   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Jesse (Pale Rose Ginger)                                 4/24/2018   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Valisia (Pomegranate)                                    4/24/2018   $       20 thrivecausemetics.com online store
Mascara Spill Bag                                              BAG                                                       5/6/2018   $        4 thrivecausemetics.com online store
Eye Cream                                                      Default Title                                             6/5/2018   $       23 thrivecausemetics.com online store
Pink Floral Makeup Bag                                         BAG                                                       7/5/2018   $        4 thrivecausemetics.com online store
Pink Floral Makeup Bag                                         GIFT                                                      7/5/2018   $        4 thrivecausemetics.com online store
Deluxe Mini Liquid Lash Extensions Mascara™                    Brynn {Rich Black)                                       7/16/2018   $       12 thrivecausemetics.com online store
Pink+ Powerful Makeup Clutch                                   Pink Polka Dot Makeup Bag                                7/18/2018   $       20 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                    Ruth {Taupe Shimmer)                                     7/25/2018   $       26 thrivecausemetics.com online store
Blend+ Blur Sponge™                                            Blend+ Blur Sponge™                                      7/31/2018   $       18 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Beige {Neutral Undertones)                               7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Beige Golden {Neutral Undertones)                        7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Fair {Cool Undertones)                                   7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Fair Light (Neutral Undertones)                          7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Golden (Neutral Undertones)                              7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Light (Neutral Undertones)                               7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Light Medium (Warm Undertones)                           7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Medium {Cool Undertones)                                 7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Medium Beige (Neutral Undertones)                        7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Natural Beige {Neutral Undertones)                       7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Rich {Warm Undertones)                                   7/31/2018   $       36 thrivecausemetics.com online store
Hustle+ Glow Makeup Clutch                                     GIFT                                                     7/31/2018   $       10 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Cocoa (Neutral Undertones)                                8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Deep Cocoa {Neutral Undertones)                           8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Deep Espresso (Warm Undertones)                           8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Golden Tan (Warm Undertones)                              8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Rich Cocoa {Neutral Undertones)                           8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Rich Tan (Cool Undertones)                                8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Tan {Warm Undertones)                                     8/1/2018   $       36 thrivecausemetics.com online store
Filtered Effects™ Soft Focus HD Setting Powder                 Translucent                                               8/2/2018   $       18 thrivecausemetics.com online store



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Product                                                      Variant                                                First Sale    Price        Channel
Glossy Lip Hydrating Serum™                                  JoAnn (Plum Mauve)                                       8/15/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Jean (Baby Pink Shimmer)                                 8/20/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Maya (Deep Blue Red)                                     8/20/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Misty (Coral)                                            8/20/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Narima (Dark Berry)                                      8/20/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Pamela (Brown Mauve)                                     8/20/2018   $       26 thrivecausemetics.com online store
Filtered Effects™ All-Over Face Brush                        Large                                                    8/21/2018   $       16 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Karlie (Bright Raspberry)                                8/21/2018   $       26 thrivecausemetics.com online store
Focus Eyeshadow Palette™                                     Palette 3                                                 9/5/2018   $       36 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™                  Overnight Sensation Brightening Sleep Mask               10/9/2018   $       62 thrivecausemetics.com online store
Star Pattern Makeup Bag                                      BAG                                                     11/16/2018   $        4 thrivecausemetics.com online store
Star Pattern Makeup Bag                                      GIFT                                                    11/16/2018   $        4 thrivecausemetics.com online store
Hustle+ Glow Makeup Clutch                                   BAG                                                     11/25/2018   $       10 thrivecausemetics.com online store
Instant Brow Fix Semi-Permanent Eyebrow Gel™                 Audrey (Dark Blonde - Medium Brunette)                   1/15/2019   $       18 thrivecausemetics.com online store
Instant Brow Fix Semi-Permanent Eyebrow Gel™                 Christina (Light - Dark Blonde)                          1/15/2019   $       18 thrivecausemetics.com online store
Instant Brow Fix Semi-Permanent Eyebrow Gel™                 Serena (Dark Brunette - Black)                           1/15/2019   $       18 thrivecausemetics.com online store
Joy Is The Best Makeup Bag                                   GIFT                                                      3/6/2019   $        4 thrivecausemetics.com online store
Diffusing Dome Blush Brush™                                  Diffusing Dome Blush Brush™                              3/11/2019   $       25 thrivecausemetics.com online store
Joy Is The Best Makeup Bag                                   BAG                                                      3/15/2019   $        4 thrivecausemetics.com online store
Lip Mate High-Shine Reviving Topper™                         Charlotte (Mauve Shimmer)                                4/16/2019   $       24 thrivecausemetics.com online store
Lip Mate High-Shine Reviving Topper™                         Ashley (Crystal Shimmer)                                 4/17/2019   $       24 thrivecausemetics.com online store
Infinity Waterproof Lash Adhesive™                           Infinity Lash Adhesive                                   4/19/2019   $       16 thrivecausemetics.com online store
Lip Mate High-Shine Reviving Topper™                         Effie (Pink Shimmer)                                     4/29/2019   $       24 thrivecausemetics.com online store
Blossom+ Shine Makeup Bag                                    GIFT                                                      6/9/2019   $        4   thrivecausemetics.com online store
Blossom+ Shine Makeup Bag                                    BAG                                                      6/10/2019   $        4   thrivecausemetics.com online store
Brilliant Eye Brightener™                                    Emma (Copper Shimmer)                                    6/25/2019   $       24   thrivecausemetics.com online store
Brilliant Eye Brightener™                                    Mieko (Soft Pink Shimmer)                                6/25/2019   $       24   thrivecausemetics.com online store
Brush Hero Brush Cleansing Pad™                              Brush Hero™ Brush Cleansing Pad                          7/31/2019   $       18 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                 Kackie (Mocha)                                            9/3/2019   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                 Maya (Deep Blue Red)                                     9/17/2019   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip liner™                 Ruth (Peach Taupe)                                       9/17/2019   $       20 thrivecausemetics.com online store
She's a Hero Makeup Bag                                      GIFT                                                     9/18/2019   $        4 thrivecausemetics.com online store
She's a Hero Makeup Bag                                      BAG                                                      9/20/2019   $        4 thrivecausemetics.com online store
Be You Makeup Bag                                            GIFT                                                    10/23/2019   $        4 thrivecausemetics.com online store
Eye Lift 360° Waterproof Primer™                             Translucent Matte                                        11/5/2019   $       24 thrivecausemetics.com online store
Perfectly Primed Makeup Bag                                  GIFT                                                     11/5/2019   $        4 thrivecausemetics.com online store
Perfectly Primed Makeup Bag                                  BAG                                                      11/6/2019   $        4 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™                  Overnight Sensation Brightening Sleep Mask™ V2          11/13/2019   $       62 thrivecausemetics.com online store
Be You Makeup Bag                                            BAG                                                     11/22/2019   $        4 thrivecausemetics.com online store
Liquid Balm Lip Treatment™                                   liquid Balm lip Treatment™                               12/3/2019   $       26 thrivecausemetics.com online store
You're A Diamond Makeup Bag                                  GIFT                                                    12/29/2019   $        4 thrivecausemetics.com online store



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Product                                                        Variant                                                   First Sale    Price      Channel
You're A Diamond Makeup Bag                                    BAG                                                        12/31/2019   $        4 thrivecausemetics.com online store
Bright Balance 3-in-1 Cleanser™                                Bright Balance 3-in-1 Cleanser™                              1/7/2020   $       32 thrivecausemetics.com online store
Defying Gravity Transforming Moisturizer™                      Defying Gravity Transforming Moisturizer™                   1/14/2020   $       49 thrivecausemetics.com online store
give2give                                                      Faux Lashes/ Robin                                          1/28/2020   $       28 thrivecausemetics.com online store
Filtered Effects™ All-Over Face Brush                          Filtered Effects All-Over Face Brush™                        2/2/2020   $       16 thrivecausemetics.com online store
Glow Getter Makeup Bag                                         GIFT                                                        2/27/2020   $        4 thrivecausemetics.com online store
Glow Getter Makeup Bag                                         BAG                                                         2/28/2020   $        4 thrivecausemetics.com online store
Defying Gravity Eye Lifting Cream™                             Defying Gravity Eye Lifting Cream™                           3/3/2020   $       23 thrivecausemetics.com online store
Liquid Lash Extensions Mascara™                                Crystal (Brown Black)                                        3/8/2020   $       24 thrivecausemetics.com online store
Diffusing Angled Bronzer Brush™                                Diffusing Angled Bronzer Brush™                              3/9/2020   $       28 thrivecausemetics.com online store
Empowered Women Makeup Bag                                     GIFT                                                        3/31/2020   $        4 thrivecausemetics.com online store
Liquid Light Therapy All-in-One Face Serum™                    Liquid Light Therapy Face Serum™                             4/7/2020   $       59 thrivecausemetics.com online store
Empowered Women Makeup Bag                                     BAG                                                          4/9/2020   $        4 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Olivia (Peachy Pink Shimmer)                                5/11/2020   $       36 thrivecausemetics.com online store
Moisture Flash Active Nutrient Toner™                          Moisture Flash Active Nutrient Toner™                       5/19/2020   $       36 thrivecausemetics.com online store
Filtered Effects™ Blurring Primer                              Filtered Effects Blurring Primer™                           6/23/2020   $       35 thrivecausemetics.com online store
Hello Sunshine Makeup Bag                                      GIFT                                                        6/26/2020   $        4 thrivecausemetics.com online store
Hello Sunshine Makeup Bag                                      BAG                                                         6/29/2020   $        4 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Devin (Black Cherry)                                         7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Em (Pink Blush)                                              7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Ghizlan {Plum Mauve)                                         7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Jesse (Pale Rose Ginger)                                     7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip liner™                   Kackie {Mocha)                                               7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip liner™                   Maya {Deep Blue Red)                                         7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Ruth (Peach Taupe)                                           7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Valisia (Pomegranate)                                        7/6/2020   $       20 thrivecausemetics.com online store
Deluxe Travel Bright Balance 3-in-1 Cleanser™                  Deluxe Travel Bright Balance 3-in-1 Cleanser™               7/10/2020   $       14 thrivecausemetics.com online store
Deluxe Travel Defying Gravity Transforming Moisturizer™        Deluxe Travel Defying Gravity Transforming Moisturizer™     7/10/2020   $       18 thrivecausemetics.com online store
Brilliant Face Brightener Illuminating Primer™                 Brilliant Face Brightener Illuminating Primer™              7/18/2020   $       35 thrivecausemetics.com online store
Cue the Confetti Makeup Bag                                    GIFT                                                        7/31/2020   $        4 thrivecausemetics.com online store
Brilliant Eye Brightener™                                      Estrella (White Pearl Shimmer)                               8/4/2020   $       24 thrivecausemetics.com online store
Brilliant Eye Brightener™                                      Gia (Warm Gold Shimmer)                                      8/4/2020   $       24 thrivecausemetics.com online store
Brilliant Eye Brightener™                                      Muna {Mauve Taupe Shimmer)                                   8/4/2020   $       24 thrivecausemetics.com online store
Moisture-Enriched Hand Sanitizer                               Default Title                                                8/7/2020   $        3 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Isabella                                                    8/16/2020   $       36 thrivecausemetics.com online store
Make Waves Makeup Bag                                          GIFT                                                        8/21/2020   $        4 thrivecausemetics.com online store
Make Waves Makeup Bag                                          BAG                                                         8/22/2020   $        4 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Isabella (Coral Golden Shimmer)                              9/1/2020   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Mieko (Soft Pink Shimmer)                                    9/1/2020   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Tessa (Berry Matte)                                          9/1/2020   $       36 thrivecausemetics.com online store
Fall In love With Yourself Makeup Bag                          GIFT                                                         9/8/2020   $        4 thrivecausemetics.com online store



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Product                                                          Variant                                                    First Sale    Price            Channel
Fall In love With Yourself Makeup Bag                            BAG                                                           9/9/2020   $            4 thrivecausemetics.com online store
Pumpkin Spice latte Liquid Balm Lip Treatment™                   Pumpkin Spice latte Liquid Balm Lip Treatment™               9/15/2020   $           26 thrivecausemetics.com online store
INTL Liquid Lash Extensions Mascara™                             Default Title                                                9/26/2020   $           24 thrivecausemetics.com online store
Defying Gravity Nourishing Hand+ Nail Cream™                     Defying Gravity Nourishing Hand+ Nail Cream™                10/19/2020   $            9 thrivecausemetics.com online store
Fearlessly Authentic Makeup Bag                                  GIFT                                                        10/30/2020   $            4 thrivecausemetics.com online store
Fearlessly Authentic Makeup Bag                                  BAG                                                          11/2/2020   $            4 thrivecausemetics.com online store
Overnight Sensation™ Gentle Resurfacing Peel                     Overnight Sensation Gentle Resurfacing Peel                 11/10/2020   $           31 thrivecausemetics.com online store
Own Your Magic Makeup Bag                                        BAG                                                          12/9/2020   $            4 thrivecausemetics.com online store
Own Your Magic Makeup Bag                                        GIFT                                                         12/9/2020   $            4 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™ SMALL WEIGHT         Overnight Sensation Brightening Sleep Mask™ SMALL WEIGHT    12/22/2020   $           38 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™ 1.7 oz               Overnight Sensation Brightening Sleep Mask™                 12/28/2020   $           38 thrivecausemetics.com online store
Skincare First Makeup Bag                                        GIFT                                                          1/1/2021   $            4 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™ 3.4oz                Overnight Sensation Brightening Sleep Mask                    1/3/2021   $           62 thrivecausemetics.com online store
Skincare First Makeup Bag                                        BAG                                                           1/3/2021   $            4 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™                      Overnight Sensation Brightening Sleep Mask™                   1/5/2021   $           38 thrivecausemetics.com online store
Dare to Shine Makeup Bag                                         GIFT                                                         1/15/2021   $            4 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                         Camila (Tan Neutral)                                         1/26/2021   $           33 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                         Paloma (Medium Neutral)                                      1/26/2021   $           33 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                         Milan (Deep Warm)                                            1/27/2021   $           33 thrivecausemetics.com online store
Dare to Shine Makeup Bag                                         BAG                                                          1/30/2021   $            4 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                         Rhea (Light Golden)                                           2/9/2021   $           33 thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Racquel (Soft Silver Shimmer)                                2/12/2021   $           24 thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Tara (Rose Mauve Shimmer)                                    2/12/2021   $           24 thrivecausemetics.com online store
Smart Microdermabrasion 2-in-1 Instant Facial™                   Smart Microdermabrasion 2-in-1 Instant Facial™               2/16/2021   $           44 thrivecausemetics.com online store
INTL Brilliant Eye Brightener™                                   Stella (Champagne Shimmer)                                   2/22/2021   $       -        thrivecausemetics.com online store
Filtered Effects™ All-Over Face Brush                            Filtered Effects™ All-Over Face Brush                        2/28/2021   $           66 thrivecausemetics.com online store
Deluxe Travel Defying Gravity Eye Lifting Cream™                 Defying Gravity Eye Lifting Cream™                            3/1/2021   $           10 thrivecausemetics.com online store
Cue the Confetti Makeup Bag                                      BAG                                                           3/5/2021   $            4 thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Pili (Cool Gold Shimmer)                                     3/16/2021   $           24 thrivecausemetics.com online store
Filtered Effects™ Blurring Primer                                Filtered Effects™ Blurring Primer                            3/19/2021   $           35 thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Anise (Warm Bronze Shimmer)                                  3/23/2021   $           24   thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Callie (Greige Taupe Shimmer)                                3/23/2021   $           24   thrivecausemetics.com online store
Enjoy the Journey Makeup Bag                                     GIFT BAG                                                     3/25/2021   $            4   thrivecausemetics.com online store
Enjoy the Journey Makeup Bag                                     BAG                                                          3/26/2021   $            4   thrivecausemetics.com online store




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CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                                                                                   TCI_00026955
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         TRIAL EXHIBIT NO. 36
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                                                                                                              •        thrivecausemetics #ThriveTribe
                                                                                                                       where is home for you? We're from
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                                                                                                                       e:}! Let us know in the comments
                                                                                                                       below!


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         TRIAL EXHIBIT NO. 346
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 72 of 244 Page ID #:7454




                         ROB V.ALLACE
                         - LEGAL EXPERT-



      Prepared for McArthur Law
      Re: Thrive Natural Care, Inc. v. Thrive Causemetics Inc

      LIKELIHOOD OF CONFUSION SURVEY / OLD PACKAGE

      Qualifying Universe:
      We will screen 1,000+ respondents - with the goal of confirming a qualifying
      universe at a minimum of 600 men and women between 18 and 65 who have
      purchased skin care products on the internet within the last 6 months and
      plan to do so again within the next 6 months.


      Questionnaire:

      1. What is your age ?
           18 or younger (Terminate interview)
           18-20
           21-29
           30-39
           40-49
           50-59
           60-65
           66 or older (Terminate interview)

      2. In the last 6 months have you purchased skin care products for your own use?
              Yes, Proceed
              No, Terminate interview

      3. In the past 6 months, where have you purchased skin care products? (check all
      that apply)
              Internet
              Beauty supply store
              Retail outlet
              Other
      (Terminate if the user does not select Internet)




                                                                              TNC02672
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      4. In the next 6 months do you plan to purchase skin care products?
              Yes, Proceed
              No, Terminate interview

      5. In the next 6 months, where do you plan to purchase skin care products?
      (check all that apply)
              Internet
              Beauty supply store
              Retail outlet
              Other
      (Terminate if the user does not select Internet)


      Control question (asked randomly with questions 2-5 to prevent order bias)

      6. In the last 6 months have you purchased dental care products for your own
      use?
             Yes, Proceed
             No, Proceed

      7. In the last 6 months, where did you purchased dental care products? (check all
      that apply)
              Internet Proceed
              Beauty supply store Proceed
              Retail outlet Proceed
              Other Proceed

      8. In the next 6 months do you plan to purchase dental care products for your
      own use?
             Yes, Proceed
             No, Proceed

      9. In the next 6 months, where do you plan to purchase dental care products?
      (check all that apply)
              Internet Proceed
              Beauty supply store Proceed
              Retail outlet Proceed
              Other Proceed

      10. In the past month have you used the Internet to search for products or
      services?

            Yes Proceed
            No, Terminate interview




                                                                                   TNC02673
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      11. Have you or anyone in your household ever worked for
      (responses are randomized to prevent order bias)

      If YES, terminate: if NO Proceed
            a. An advertising agency
            b. A consumer research firm
            c. A personal care product manufacturer, retailer, or distributor

      Control questions: Proceed with all responses
        d. A dental care product manufacturer or retailer


      12. Are you taking this survey on…
             a. A laptop or desktop computer
             b. A tablet (Terminate interview)
             c. A phone (Terminate interview)

      13. Will you agree to answer the questions without help or assistance, answer
      truthfully and do not guess?
              Yes, Proceed
              No, Terminate interview

      14. Do you need contacts or glasses for reading?
            Yes, Proceed to question 9
            No, Proceed to question 10

      15. If so, will you be wearing them when completing the survey?
         Yes, Proceed
         No, Terminate interview

      16. Please understand that we are only interested in your opinions or beliefs. If
      you don’t have an opinion or belief or don’t know the answer to a question, that is
      an acceptable answer. Do you agree not to guess or get information from anyone
      else, from the internet or any other source?
              Yes, Proceed
              No, Terminate interview




                                                                                 TNC02674
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      17.   You are about to see images of four products, each featured as you would
            see them when purchasing them.

            Please view the following images as if you were shopping for these
            products with the possible intent to purchase them. For the questions, if
            you do not have an opinion or are unsure of your opinion, it’s perfectly all
            right to say so.

      (600 respondents will see each image pair in random order to prevent order bias)

      PRODUCT ONE




                                      DAILY DEFENSE
                                      SUNSCREEN BALM
                                      (MINERAL SPF 30)
                                       *****
                                        22.95 6-24:96
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                                      2 I.Oz.

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      PRODUCT TWO


             thrive
                           -                            Howw.etw




                                                              Moisture Flash A<;tM! Nutrient                $36

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                                                              Toner'"

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      PRODUCT THREE

                                           Ursa Major


                                                                           Fortifying Face l:lalm
                                                                           $36.00



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      PRODUCT FOUR
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     Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 77 of 244 Page ID #:7459




             PRODUCT FOUR

SHOP ~       10a.SUST
         FTH OS    What     type of products were WLDKAT.
                      AINABUITY                   shown in the images you just    WlDNFWS                                                                        WLD THOUGHTS

             reviewed?
                      Detergent
                      Shampoo
                                                                                                ......
                      Skin care products
                      Pet food
                      Don’t know/no opinion              SAFFRON + OAT MILK GLOW SERUM
                                                                  o btightening end hydrot ing serum.
             (Terminate if user does not select skinNEW
                                                     care answer, attention check)
                                                    1o:/ 30ml


                                                                  •••••
             11a. All of these products can be purchased online, but we are interested in who
             you believe makes each of these products, meaning theirAdelmanufacturer   or source.
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                                                                        to Cot1 . S)1)




             (Two products shown in random order)
             (Product 1 and 2)                                    The &eokdown
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              Do you believe that these two products come      from the same
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             company/manufacturer/source?             hydro~,O l ' l d ~ bl'iQh!.

                - Yes, same company/manufacturer/source
                                                      Oir-ectione                                                                                                +
                - No, different companies/manufacturer/source
                                                      Ingredients                                                                                                +
                - Not sure/ don't know


                  What type of products were shown in the images you just
                  reviewed?
                      Detergent
                     Shampoo
                     Skin care products
                     Pet food
                     Don’t know/no opinion

             (Terminate if user does not select skin care answer, attention check)

             18a. All of these products can be purchased on-line, but we are interested in who
             you believe makes each of these products, meaning their manufacturer or source.

             (Two products shown in random order)

             (Products 1 and 2)




                                                                                                                                                TNC02677
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                                     DAILY DEFENSE
                                     SUNSCREEN BALM
                                     (MINERAL SPF 30)
                                     *****
                                     s 22.95 5-24,96
                                                    116 t8Vl8W$
                                                              ml

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                                    SPF 30tiydrate$, nounlhes. and ,ev,a ,zes skin wh le prov,0."'9
                                     broad-spectrum p,ot&elJO(I &gaffll UVANV8 rays.

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             thrive
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                                                                               Moisture Flash A<;tM! Nutrient              $36

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      Do you believe that these two products come from the same
      company/manufacturer/source?



                                                                                                                           TNC02678
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         -   Yes, same company/manufacturer/source?
         -   No, different companies/manufacturer/source?
         -   Not sure/ don't know

      19a. Why do you say that?

      20a.   (Only for those who said No or Not Sure to Q18a )

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected or associated
         -   No, companies are not affiliated, connected or associated
         -   Not sure/ don't know

      21a. Why do you say that?


      (Product 1 and 3)




                                       DllllY DEFENSE
                                       SUNSCREEN BALM
                                       (MINERAL SPF 30)
                                       *****
                                       s 22.95 6-24:96
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                                       SPF 30 )'drate~. nourtSl1es. and re, 111 ,zes 131(_,n wh ~ Jl(CM<I ~
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                                                                                                              TNC02679
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 80 of 244 Page ID #:7462




                                            Ursa Mlajor


                                                                  Fortifying Face Balm
      Do you believe that these two products come from the same3    .00

      company/manufacturer/source?
         - Yes, same company/manufacturer/source
         - No, different companies/manufacturer/source
         - Not sure/ don't know
                                                                  .....           ~




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                              IMajor
      12b. What in particular makes
                              - '"~
                                    you say that?
                                                                     1    +
      13b.   (Only for those who said No or Not Sure to Q12 )

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected, or associated
         -   No, companies are not affiliated, connected, or associated
         -   Not sure/ don't know




      18b. Do you believe that these two products come from the same
      company/manufacturer/source?
         - Yes, same company/manufacturer/source?
         - No, different companies/manufacturer/source?
         - Not sure/ don't know


      19b. Why do you say that?

      20b.   (Only for those who said No or Not Sure to Q18b )

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected or associated
         -   No, companies are not affiliated, connected or associated
         -   Not sure/ don't know

      21b. Why do you say that?




                                                                                         TNC02680
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      (Products 1 and 4)




                                              DAILY DEFENSE
                                              SUNSCREEN BALM
                                              (MINERAL SPF 30)
                                              *****
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                                                                        SAFFRON + OAT M ILK G LOW SERUM
      11d. (Product 2 and 3)
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      12d. What in particular makes you say that?                       ~          ............   ~


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      13d.        (Only for those who said No or Not Sure to Q12a )                                                                              +




      18 c. Do you believe that these two products come from the same



                                                                                                                                     TNC02681
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         company/manufacturer/source?
         - Yes, same company/manufacturer/source
         - No, different companies/manufacturer/source
         - Not sure/ don't know

      19c. Why do you say that?

      20c.   (Only for those who said No or Not Sure to Q18b )

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected or associated
         -   No, companies are not affiliated, connected or associated
         -   Not sure/ don't know

      21c. Why do you say that?

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected, or associated
         -   No, companies are not affiliated, connected, or associated
         -   Not sure/ don't know




                                                                                 TNC02682
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      (Products 2 and 3)



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      Do you believe that these two products come from the same
      company/manufacturer/source?                            Fortifying Face Balm
         - Yes, same company/manufacturer/source               J .00
         - No, different companies/manufacturer/source
         - Not sure/ don't know
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      12e. What in particular makes you say that?

      13e.                    M- jorsaid No or Not Sure to Q12a )
                              Ursa
             (Only for those who                                                   l C ~ . I>      L OZ

                               ,.ra
      If you said different companies, do you believe that these companies are affiliated,
                                                                                    ].



      connected, or associated with each other?

         -   Yes, companies are affiliated, connected, or associated
         -   No, companies are not affiliated, connected, or associated
         -   Not sure/ don't know

      14e. Why do you say that?




                                                                                                                             TNC02683
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         -   (Open ended question with tabulations for common answers)
         -

      18d. Do you believe that these two products come from the same
      company/manufacturer/source?
         - Yes, same company/manufacturer/source?
         - No, different companies/manufacturer/source?


      19d. Why do you say that?

      20d.   (Only for those who said No or Not Sure to Q18b )

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected or associated
         -   No, companies are not affiliated, connected or associated
         -   Not sure/ don't know

      21d. Why do you say that?

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected, or associated
         -   No, companies are not affiliated, connected, or associated
         -   Not sure/ don't know




                                                                                 TNC02684
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      (Product 3 and 4)

                                      Ursa Ma jor



                                                                     Fortifying Face Balm
                                                                     $36.00




      17. Please read the
                                                                     .....         ~




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      18e. Do you believe that these two products come from the same
      company/manufacturer/source?
         - Yes, same company/manufacturer/source?
         - No, different companies/manufacturer/source?
         - Not sure/ don't know


      19e. Why do you say that?

      20e.   (Only for those who said No or Not Sure to Q18b )

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected or associated
         -   No, companies are not affiliated, connected or associated
         -   Not sure/ don't know

      21e. Why do you say that?

      22. Please enter the number 865 in the box below.

      [Add box] (Terminate if wrong number, attention deficit check)



      23. Please read the scenario below and answer the question that follows.

             When researching skin care products you notice an Instagram post
             showing a skin moisturizer with the hashtag #THRIVETRIBE. Later in
             the same search you see a second post with the hashtag #THRIVETRIBE
             also showing a picture of a skin moisturizer.

             Based on these posts, do you believe that they refer to the same products
             and come from the same company or companies that are affiliated,
             connected or associated with one another - or from different companies
             that are not affiliated, connected, or associated?

         -   Yes, these posts are from the same company or companies that are
             affiliated, connected, or associated

         -   No, these posts are from different companies that are not affiliated,
             connected, or associated




                                                                                     TNC02686
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         -   Not sure/ don't know



      -------Demographic questions--------------------

      24. Are you…
             a. Male
             b. Female
             c. Other
             d. Rather not say

      25. What is the highest level of school you have completed or the highest degree
      you have received?
            Less than high school degree
            High school degree or equivalent (e.g., GED)
            Some college but no degree
            Associate degree
            Bachelor degree
            Graduate degree

      26. What state do you live in?

      27. What is your approximate average household income?
           $0-$24,999
           $25,000-$49,999
           $50,000- $74,999
           $75,000- $99,999
           $100,000- $124,999
           $125,000- $149,999
           $150,000- $174,999
           $175,000- $199,999
           $200,000 and up
           Rather not say




                                                                               TNC02687
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         TRIAL EXHIBIT NO. 347
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                         ROB V.ALLACE
                         - LEGAL EXPERT-



      Prepared for McArthur Law
      Re: Thrive Natural Care, Inc. v. Thrive Causemetics Inc

      LIKELIHOOD OF CONFUSION SURVEY / NEW PACKAGE

      Qualifying Universe:
      We will screen 1,000+ respondents - with the goal of confirming a qualifying
      universe at a minimum of 600 men and women between 18 and 65 who have
      purchased skin care products on the internet within the last 6 months and
      plan to do so again within the next 6 months.


      Questionnaire:

      1. What is your age ?
           18 or younger (Terminate interview)
           18-20
           21-29
           30-39
           40-49
           50-59
           60-65
           66 or older (Terminate interview)

      2. In the last 6 months have you purchased skin care products for your own use?
              Yes, Proceed
              No, Terminate interview

      3. In the past 6 months, where have you purchased skin care products? (check all
      that apply)
              Internet
              Beauty supply store
              Retail outlet
              Other
      (Terminate if the user does not select Internet)




                                                                              TNC02688
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      4. In the next 6 months do you plan to purchase skin care products?
              Yes, Proceed
              No, Terminate interview

      5. In the next 6 months, where do you plan to purchase skin care products?
      (check all that apply)
              Internet
              Beauty supply store
              Retail outlet
              Other
      (Terminate if the user does not select Internet)


      Control question (asked randomly with questions 2-5 to prevent order bias)

      6. In the last 6 months have you purchased dental care products for your own
      use?
             Yes, Proceed
             No, Proceed

      7. In the last 6 months, where did you purchased dental care products? (check all
      that apply)
              Internet Proceed
              Beauty supply store Proceed
              Retail outlet Proceed
              Other Proceed

      8. In the next 6 months do you plan to purchase dental care products for your
      own use?
             Yes, Proceed
             No, Proceed

      9. In the next 6 months, where do you plan to purchase dental care products?
      (check all that apply)
              Internet Proceed
              Beauty supply store Proceed
              Retail outlet Proceed
              Other Proceed

      10. In the past month have you used the Internet to search for products or
      services?

            Yes Proceed
            No, Terminate interview




                                                                                   TNC02689
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      11. Have you or anyone in your household ever worked for
      (responses are randomized to prevent order bias)

      If YES, terminate: if NO Proceed
            a. An advertising agency
            b. A consumer research firm
            c. A personal care product manufacturer, retailer, or distributor

      Control questions: Proceed with all responses
        d. A dental care product manufacturer or retailer


      12. Are you taking this survey on…
             a. A laptop or desktop computer
             b. A tablet (Terminate interview)
             c. A phone (Terminate interview)

      13. Will you agree to answer the questions without help or assistance, answer
      truthfully and do not guess?
              Yes, Proceed
              No, Terminate interview

      14. Do you need contacts or glasses for reading?
            Yes, Proceed to question 9
            No, Proceed to question 10

      15. If so, will you be wearing them when completing the survey?
         Yes, Proceed
         No, Terminate interview

      16. Please understand that we are only interested in your opinions or beliefs. If
      you don’t have an opinion or belief or don’t know the answer to a question, that is
      an acceptable answer. Do you agree not to guess or get information from anyone
      else, from the internet or any other source?
              Yes, Proceed
              No, Terminate interview




                                                                                 TNC02690
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      17.        You are about to see images of four products, each featured as you would
                 see them when purchasing them.

                 Please view the following images as if you were shopping for these
                 products with the possible intent to purchase them. For the questions, if
                 you do not have an opinion or are unsure of your opinion, it’s perfectly all
                 right to say so.

      (600 respondents will see each image pair in random order to prevent order bias)

      PRODUCT ONE
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      PRODUCT TWO


           thrive                                .......   HowW.GMI




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                                                                 Bristit Ba,l1nct 3-in•1 C~:i""'-               $32
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         -                    thrive-                            ~ ..Jo,~"'"•c!Nn--,:ltv••...




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      PRODUCT THREE

                                            Ursa Major



                                                                             Fortifying Face Balm
                                                                             $36.00



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      PRODUCT FOUR
                         Ursa
                         Mc1jor
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      PRODUCT FOUR

      10a.
       S HOP What
             ~      type of
                 FTHOS      products
                         SUSTA lNABUITY were shown in theWLDKAT.
                                                          images you just                WLONFWS                                                                   WLO T

      reviewed?
               Detergent                                                                          ......
               Shampoo
               Skin care products
               Pet food
               Don’t know/no opinion                            SAFFRON + OAT MILK GLOW SERUM
                                                                    o btightening ond hydrot ing serum.

      (Terminate if user does not select skin care answer,
                                                       NEW
                                                             attention check)
                                                       l o:/ 30ml


                                                                    •••••
      11a. All of these products can be purchased online, but we are interested in who
      you believe makes each of these products, meaning their manufacturerAdel toor
                                                                                 Cot1 source.
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      (Two products shown in random order)
      (Product 1 and 2)                                             The &eokdown
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       Do you believe that these two products come from the   same
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      company/manufacturer/source?
                                                                          Ml'Vffl
                                                          hydro~, o r ' l d ~ MQht.

         - Yes, same company/manufacturer/source          Direction&                                                                                               +
         - No, different companies/manufacturer/source Ingredients                                                                                                 +
         - Not sure/ don't know


         What type of products were shown in the images you just
         reviewed?
             Detergent
            Shampoo
            Skin care products
            Pet food
            Don’t know/no opinion

      (Terminate if user does not select skin care answer, attention check)

      18a. All of these products can be purchased on-line, but we are interested in who
      you believe makes each of these products, meaning their manufacturer or source.

      (Two products shown in random order)

      (Products 1 and 2)




                                                                                                                     TNC02693
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            thrive                                            .......      HowW.GMI




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          -                                 thrive-                                  ~        ..Jo,~"'"•c!Nn--,:ltv••...




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      Do you believe that these two products come from the same
      company/manufacturer/source?
         - Yes, same company/manufacturer/source?
         - No, different companies/manufacturer/source?
         - Not sure/ don't know



                                                                                                                                    TNC02694
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      19a. Why do you say that?

      20a.       (Only for those who said No or Not Sure to Q18a )

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -       Yes, companies are affiliated, connected or associated
         -       No, companies are not affiliated, connected or associated
         -       Not sure/ don't know

      21a. Why do you say that?


      18b. (Product 1 and 3)


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      Do you believe that these two products come from the same
                                                                            ortifying Face Balm
      company/manufacturer/source?                                         36,00
         - Yes, same company/manufacturer/source
         - No, different companies/manufacturer/source
         - Not sure/ don't know
                                                                          • •·• • · l:ll.1'lb!li:,n




      12b. What in particular makes you say that?

      13b.   (Only for those who said No or Not Sure to Q12 )
                                                                               :1   I

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected, or associated
         -   No, companies are not affiliated, connected, or associated
         -   Not sure/ don't know




      18b. Do you believe that these two products come from the same
      company/manufacturer/source?
         - Yes, same company/manufacturer/source?
         - No, different companies/manufacturer/source?
         - Not sure/ don't know


      19b. Why do you say that?

      20b.   (Only for those who said No or Not Sure to Q18b )

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -   Yes, companies are affiliated, connected or associated
         -   No, companies are not affiliated, connected or associated
         -   Not sure/ don't know

      21b. Why do you say that?




                                                                                            TNC02696
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      (Products 1 and 4)


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                                                                                                                  SAFFRON + OAT M ILK G LOW SERUM
      11d. (Product 2 and 3)                                                                                      o ~ ono l'lvelrotll'IQ Mr\11'1"1.
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      12d. What in particular makes you say that?                                                                 ~       .....   ~~




      13d.            (Only for those who said No or Not Sure to Q12a )



      18 c. Do you believe that these two products come from the same
         company/manufacturer/source?
         - Yes, same company/manufacturer/source




                                                                                                                                                                               TNC02697
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         -       No, different companies/manufacturer/source
         -       Not sure/ don't know

      19c. Why do you say that?

      20c.       (Only for those who said No or Not Sure to Q18b )

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -       Yes, companies are affiliated, connected or associated
         -       No, companies are not affiliated, connected or associated
         -       Not sure/ don't know

      21c. Why do you say that?

      If you said different companies, do you believe that these companies are affiliated,
      connected, or associated with each other?

         -       Yes, companies are affiliated, connected, or associated
         -       No, companies are not affiliated, connected, or associated
         -       Not sure/ don't know

      (Products 2 and 3)
             C                                                                                     ,:,    ID    0



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Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 100 of 244 Page ID
                                  #:7482




   Do you believe that these two products come from the same
   company/manufacturer/source?
                                                                         ortifying Face Balm
      - Yes, same company/manufacturer/source                           36,00
      - No, different companies/manufacturer/source
      - Not sure/ don't know
                                                                       • •·• • · l:ll.1'lb!li:,n


   12e. What in particular makes you say that?

   13e.   (Only for those who said No or Not Sure to Q12a )

   If you said different companies, do you believe that these companies:1 are
                                                                          I   affiliated,
   connected, or associated with each other?

      -   Yes, companies are affiliated, connected, or associated
      -   No, companies are not affiliated, connected, or associated
      -   Not sure/ don't know

   14e. Why do you say that?

      -   (Open ended question with tabulations for common answers)
      -

   18d. Do you believe that these two products come from the same
   company/manufacturer/source?
      - Yes, same company/manufacturer/source?
      - No, different companies/manufacturer/source?




                                                                                         TNC02699
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                                  #:7483



   Product 3 and 4)

                                        Ursa Maj or



                                                                         Fortifying Face Balm
                                                                        $36.00




   17. Please read the
                                                                         .....       ~




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Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 102 of 244 Page ID
                                  #:7484




   18e. Do you believe that these two products come from the same
   company/manufacturer/source?
      - Yes, same company/manufacturer/source?
      - No, different companies/manufacturer/source?
      - Not sure/ don't know


   19e. Why do you say that?

   20e.   (Only for those who said No or Not Sure to Q18b )

   If you said different companies, do you believe that these companies are affiliated,
   connected, or associated with each other?

      -   Yes, companies are affiliated, connected or associated
      -   No, companies are not affiliated, connected or associated
      -   Not sure/ don't know

   21e. Why do you say that?



   22. Please enter the number 865 in the box below.

   [Add box] (Terminate if wrong number, attention deficit check)

   23. Please read the scenario below and answer the question that follows.

          When researching skin care products you notice an Instagram post
          showing a skin moisturizer with the hashtag #THRIVETRIBE. Later in
          the same search you see a second post with the hashtag #THRIVETRIBE
          also showing a picture of a skin moisturizer.

          Based on these posts, do you believe that they refer to the same products
          and come from the same company or companies that are affiliated,
          connected or associated with one another - or from different companies
          that are not affiliated, connected, or associated?

      -   Yes, these posts are from the same company or companies that are
          affiliated, connected, or associated

      -   No, these posts are from different companies that are not affiliated,
          connected, or associated




                                                                                  TNC02701
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 103 of 244 Page ID
                                  #:7485



      -   Not sure/ don't know



   -------Demographic questions--------------------

   24. Are you…
          a. Male
          b. Female
          c. Other
          d. Rather not say

   25. What is the highest level of school you have completed or the highest degree
   you have received?
         Less than high school degree
         High school degree or equivalent (e.g., GED)
         Some college but no degree
         Associate degree
         Bachelor degree
         Graduate degree

   26. What state do you live in?

   27. What is your approximate average household income?
        $0-$24,999
        $25,000-$49,999
        $50,000- $74,999
        $75,000- $99,999
        $100,000- $124,999
        $125,000- $149,999
        $150,000- $174,999
        $175,000- $199,999
        $200,000 and up
        Rather not say




                                                                            TNC02702
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                                  #:7486




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Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 105 of 244 Page ID
                                  #:7487
                  Thank you for taking time to participate in our survey.




                                                                            TNC02703
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                                  #:7488
                  Thank you for taking time to participate in our survey.




                                             °"   I                         100%




                                                                                   TNC02704
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                                  #:7489
                   What is your age?


                    0    Younger than 18

                    0    18-20

                    0    2 1-29

                    0    30-39

                    0    40-49

                    0    50-59

                    0    60-65

                    0    66 or older




                                           °" •
                                                  -   100%




                                                                  TNC02705
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                                  #:7490
                   In the last 6 months have you purchased dental care products for your own use?


                    Q    Yes

                    Q    No




                                          "-                                             100%




                                                                                                    TNC02706
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                                  #:7491
                   In the next 6 months do you plan to purchase dent.al care prod ucts for your own use?


                    Q    Yes

                    Q    No




                                           "-                                              100%




                                                                                                           TNC02707
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 110 of 244 Page ID
                                  #:7492
                   In the last 6 months have you purchased skin care p roducts for your own use?


                    Q    Yes

                    0    No




                                          .,. .                                           100%




                                                                                                   TNC02708
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                                  #:7493
                   In the past 6 months, where have you purchased skin ca re prod uct s?

                   (Select all that apply.)



                    □     Internet


                    □     Beauty supply store


                    □     Retail outlet


                    □     Other




                                              "-                                           100%




                                                                                                  TNC02709
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                                  #:7494
                   In the next 6 months do you plan to purchase skin care products for your own use?


                    Q    Yes

                    Q    No




                                          "-                                             100%




                                                                                                       TNC02710
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 113 of 244 Page ID
                                  #:7495
                   In the next 6 months, where do you plan to purchase skin care products?

                   (Select all that apply.)



                    □     Internet


                    □     Beauty supply store


                    □     Retail outlet


                    □     Other




                                              "-                                         100%




                                                                                                TNC02711
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 114 of 244 Page ID
                                  #:7496
                   In the past month have you used the Internet to search for products or services?


                    Q    Yes

                    Q    No




                                           "-                                              100%




                                                                                                      TNC02712
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 115 of 244 Page ID
                                  #:7497
                  Have you or anyone in your household ever worked for ...


                                                                                   Yes     No

                   An advertising agency                                           0       0
                   A consumer research firm                                        0       0
                   A personal care product manufacturer. retailer or distributor   0       0
                   A dental car e product manufacturer or retai ler                0       0




                                             "-
                                                                        -           100%




                                                                                                TNC02713
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 116 of 244 Page ID
                                  #:7498
                   Are you taking this survey on ...


                    Q     A laptop or desktop computer

                    0     Atablet

                    Q     Aphone




                                             "-          '"""




                                                                  TNC02714
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 117 of 244 Page ID
                                  #:7499
                   Will you agree to a nswer the questions without hel p or assistance, answer truthfully and do not guess?


                    Q    Yes

                    Q    No




                                           "-                                               100%




                                                                                                                              TNC02715
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 118 of 244 Page ID
                                  #:7500
                   Do you need contacts or glasses for reading?


                    Q    Yes

                    Q    No




                                          "-                      100%




                                                                         TNC02716
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 119 of 244 Page ID
                                  #:7501
                   If so, will you be wearing them wh en completing t he survey?


                    Q    Yes

                    Q    No




                                           "-                                      100%




                                                                                          TNC02717
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 120 of 244 Page ID
                                  #:7502
                   Please understand that we are only interested in your opinions or beliefs. If you don't have an opinion or
                   belief or don't know the answer to a question, that is an acceptable answer. Do you agree not to guess
                   or get information from anyone else, from the internet or any other source?


                    Q    Yes

                    Q    No




                                                                       -                    100%




                                                                                                                                TNC02718
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 121 of 244 Page ID
                                  #:7503
                   You are about to see images of four products, each featured as yo u would see them when purchasing
                   them.

                   Please view the following images as if you were shopping for these products with the possible intent to
                   purchase them. For the questions, if you do not have an opinion or are unsure of your opinion, it's
                   perfectly a ll right to say so.




                                           "-
                                                                       -                   "'""




                                                                                                                             TNC02719
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 122 of 244 Page ID
                                  #:7504
               PRODUCT ONE



                      thrive                                              Siplln   v   /jo   I C2,Htli)   0..

                  A
                                                            Moisture Flash Active Nutrient                      $36
                                                            Toner"'


                  •                                         0urMXt .......Kklnikohol-lfNl0fllflnl.-!\rhydrat""-pH
                                                            t>,1-.s•~t-tor,r,ulsofttr.fmootht<sid<lful,Vpr""""




                                  t hrive-


                                                                            1-.t,,,•fmltilllilDIC!>


                               -'CTIVE NUTRIENT   ror.u ·
                                                                                         ADO TO 8AG




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                               °" -                          1()()%




                                                                                                                      TNC02720
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 123 of 244 Page ID
                                  #:7505
               PRODUCT TWO

                                       Ursa Major



                                                       Fortifying Face Balm
                                                       $38.00


                                                       .,. _._...,._.,_ ,.,.oflllfJ)O)'c'O

                                                       ***** ~

                             Ursa

                             ,~-
                             Major
                             .,,,,..
                                                           ■ Ol<E · TUIE PURCHASE , $38 , 00




                              "-
                                           -        "'""




                                                                                               TNC02721
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 124 of 244 Page ID
                                  #:7506
               PRODUCTTHREE

               SHOP~   ETHOS   SUST,llHABL TV          WLDKAT.                                  WLONEWS    WLDTHOUGHTS




                                                          SAFFRON + OAT MILK GLOW SERUM
                                                          o bright.ning o nd hydrating s.rum.
                                                          NSW



                                                          •••••
                                                          [DJ

                                                          -.jo.,iey1H...,,.-Qlow.NO~-~wlll'll000MG{!!!)olbrood
                                                          -=-,,._~OC>d.-oollron_."-t _ _ , ~
                                                          -----~.....-....-......ticl<y-.~-k:o'°"'II_,,,,
                                                          ~      . -be'fondbright.




                                                °" -
                                                           -                         100%




                                                                                                                         TNC02722
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 125 of 244 Page ID
                                  #:7507
               PRODUCT FOUR




                Our Products ..,   Regenerative Mission   Superplant Skincare   Our Skin Health Philosophy             Ingredients   Blog       Connect with Us


                                                                                  SENSITIVE SKIN FACE
                                                                                  BALM - STRESS DEFENSE
                                                                                  - 2 FL. OZ. (60ML)
                                                                                  *****9rev,.ws
                                                                                  S 16.96




                                                                                    • Product Desc11pti0n
                                                                                    • Our Comm,tments

                                                                                      This natural moisturi.2:er, along with Thrive's SensiW.
                                                                                      Skin Face Wash, pac~s the perieet one•lwo punch lo star1
                                                                                      your day. This balm delivers the s.ame benefits as our ~ular
                                                                                      Face Balm but was &pecially designed for Sensiliwt Skin.
                                                                                      damaged from the daily stress and pollu1ion of an active lile,
                                                                                      Thrivn Restoring Face Balm helps hydrate, rntore, and
                                                                                      protect your face. Our natural formula is made with high•
                                                                                      quality planl extracts with no added tragrance that make your
                                                                                      skin lool< and feel healthier.




                                                                                  -                           1()()'11,




                                                                                                                                                                  TNC02723
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 126 of 244 Page ID
                                  #:7508
                   What type of products were shown in the images you just reviewed?


                    0    Shampoo

                    0    Pet food

                    0    Detergent

                    0    Skin care products

                    0    Don't know I No opinion




                                                                                       TNC02724
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 127 of 244 Page ID
                                  #:7509
                   All of these products can be purchased on line, but we are interested in who you believe makes each of
                   these products, meaning their m anufactur er or source.




                                                                                           "'""




                                                                                                                            TNC02725
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 128 of 244 Page ID
                                  #:7510


               Our Products "   Regenerative Mission   Superplant Skincare   Our Skin Health Philosophy          Ingredients      Blog       Connect with Us


                                                                               SENSITIVE SKIN FACE
                                                                               BALM - STRESS DEFENSE
                                                                               - 2 FL. OZ. (60ML)
                                                                               * * * * *9reviews
                                                                               S 16.96




                                                                                 • Product Desc11p1ion
                                                                                 • Our Commitments

                                                                                   This natural moisturizer, •long with Thrive's Sensitive
                                                                                   Skin Face Wash, packs lhe perlect one•two punch lo star1
                                                                                   your day. This balm delivers the same benelits as our regular
                                                                                   Face Balm but was specially designed lor Sensitive Skin,
                                                                                   damaged trorn the daily 1tre111 and pollution of an active life,
                                                                                   Thrives Restoring Face Balm he!ps hydrate, restore. and
                                                                                   p,otec-t your lace. Our natural formula i$ made with high•
                                                                                   quality plant extracts with no added fragrance that make your
                                                                                   skin loo!( and /eel healthier.




                                                                                                                                                               TNC02726
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 129 of 244 Page ID
                                  #:7511

                    thrive                                          Slp,ln,.,   Oo   I C2,1-Wc> 0.

                A
                                                      Moisture Flash Active Nutrient                   $36
                                                      Toner ...



                •                                     fRtf,...,,...00....,..»s.-....iaov,_•IIIJ&U~

                                                      0....r-i...,...Kion-·fl'HIDnll"lnt~hydratM,,pH
                                                      tNl-•brJ#ll-tl)rlYffliOftllf.imoothl<sklnfullypewe,:j
                                                      forsld-..




                             t hrive-
                             c 1 u 1 1m1 1i c 1
                                                                                                              +




                                                                                 ADO TO B A G




                                                  -    100%




                                                                                                                  TNC02727
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 130 of 244 Page ID
                                  #:7512
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q    Yes, same company/manufacturer/source

                    Q    No, different companies/manufacturer/source

                    Q    Not sur e / Don't know




                                          ""                                          '"""




                                                                                                             TNC02728
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 131 of 244 Page ID
                                  #:7513
                   Why do you say that?




                                             1()0%




                                                                  TNC02729
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 132 of 244 Page ID
                                  #:7514

                    thrive                                          Slp,ln,.,   Oo   I C2,1-Wc> 0.

                A
                                                      Moisture Flash Active Nutrient                   $36
                                                      Toner ...



                •                                     fRtf,...,,...00....,..»s.-....iaov,_•IIIJ&U~

                                                      0....r-i...,...Kion-·fl'HIDnll"lnt~hydratM,,pH
                                                      tNl-•brJ#ll-tl)rlYffliOftllf.imoothl<sklnfullypewe,:j
                                                      forsld-..




                             t hrive-
                             c 1 u 1 1m1 1i c 1
                                                                                                              +




                                                                                 ADO TO B A G




                                                  -    100%




                                                                                                                  TNC02730
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 133 of 244 Page ID
                                  #:7515
               SHOP   ETHOS   SUSIAINABILITV   WLDKAT.                                WLONEWS   WLDIHOUGHl5




                                                  SAFFRON + OAT MILK GLOW SERUM
                                                  o ~ teni"'il ond ~roti"'il serum.
                                                  NEW
                                                  1oz/ 30ml


                                                  *****


                                                  A/,kvlit-~gle>w.NO~-'--wilh,ooQMG{l:!)o/bfOO<I
                                                  -                           ..-lNI-.~
                                                  ,__, _csc.oa1.-.~-.-ao11ron
                                                          _.,._..,.._.....<icky-.~-~~
                                                  ~-bo'f<>ndbriVht,




                                                                           100%




                                                                                                              TNC02731
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 134 of 244 Page ID
                                  #:7516
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q     Yes, same company/manufacturer/source

                    (i)   No, different companies/manufacturer/source

                    Q     Not sur e / Don't know




                                           ""                                         '"""




                                                                                                             TNC02732
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 135 of 244 Page ID
                                  #:7517
                   Why do you say that?




                                             1()0%




                                                                  TNC02733
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 136 of 244 Page ID
                                  #:7518
                   If you said different companies, do you believe t hat these companies are affiliated, connected, or
                   associated with each other?


                    Q    Yes, companies are affiliated, connected or associated

                    0    No, companies are not affiliated, con nected or associated

                    0    Not sure/ Don't know




                                                                        -                    100%




                                                                                                                         TNC02734
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 137 of 244 Page ID
                                  #:7519
                   Why do you say that?




                                             1()0%




                                                                  TNC02735
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 138 of 244 Page ID
                                  #:7520


               Our Products "   Regenerative Mission   Superplant Skincare   Our Skin Health Philosophy          Ingredients      Blog       Connect with Us


                                                                               SENSITIVE SKIN FACE
                                                                               BALM - STRESS DEFENSE
                                                                               - 2 FL. OZ. (60ML)
                                                                               * * * * *9reviews
                                                                               S 16.96




                                                                                 • Product Desc11p1ion
                                                                                 • Our Commitments

                                                                                   This natural moisturizer, •long with Thrive's Sensitive
                                                                                   Skin Face Wash, packs lhe perlect one•two punch lo star1
                                                                                   your day. This balm delivers the same benelits as our regular
                                                                                   Face Balm but was specially designed lor Sensitive Skin,
                                                                                   damaged trorn the daily 1tre111 and pollution of an active life,
                                                                                   Thrives Restoring Face Balm he!ps hydrate, restore. and
                                                                                   p,otec-t your lace. Our natural formula i$ made with high•
                                                                                   quality plant extracts with no added fragrance that make your
                                                                                   skin loo!( and /eel healthier.




                                                                                                                                                               TNC02736
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 139 of 244 Page ID
                                  #:7521
                                     Ursa Major



                                                     Fortifying Face Balm
                                                     538.00




                                                     ***** ~
                                                     AliaNwecJ>t&elmoisturi-lo~~llydr, t•and
                                                     noo.ritl'lslaft.


                            Ursa
                            Major
                            ~~r.:.
                                                         ■ OkE•THIE PURCW.SE:




                                                  100%




                                                                                               TNC02737
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 140 of 244 Page ID
                                  #:7522
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q    Yes, same company/manufacturer/source

                    Q    No, different companies/manufacturer/source

                    Q    Not sur e / Don't know




                                          ""                                          '"""




                                                                                                             TNC02738
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 141 of 244 Page ID
                                  #:7523
                   Why do you say that?




                                             1()0%




                                                                  TNC02739
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 142 of 244 Page ID
                                  #:7524

                    thrive                                          Slp,ln,.,   Oo   I C2,1-Wc> 0.

                A
                                                      Moisture Flash Active Nutrient                   $36
                                                      Toner ...



                •                                     fRtf,...,,...00....,..»s.-....iaov,_•IIIJ&U~

                                                      0....r-i...,...Kion-·fl'HIDnll"lnt~hydratM,,pH
                                                      tNl-•brJ#ll-tl)rlYffliOftllf.imoothl<sklnfullypewe,:j
                                                      forsld-..




                             t hrive-
                             c 1 u 1 1m1 1i c 1
                                                                                                              +




                                                                                 ADO TO B A G




                                                  -    100%




                                                                                                                  TNC02740
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 143 of 244 Page ID
                                  #:7525
                                     Ursa Major



                                                     Fortifying Face Balm
                                                     538.00




                                                     ***** ~
                                                     AliaNwecJ>t&elmoisturi-lo~~llydr, t•and
                                                     noo.ritl'lslaft.


                            Ursa
                            Major
                            ~~r.:.
                                                         ■ OkE•THIE PURCW.SE:




                                                  100%




                                                                                               TNC02741
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 144 of 244 Page ID
                                  #:7526
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q    Yes, same company/manufacturer/source

                    Q    No, different companies/manufacturer/source

                    Q    Not sur e / Don't know




                                          ""                                          '"""




                                                                                                             TNC02742
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 145 of 244 Page ID
                                  #:7527
                   Why do you say that?




                                             1()0%




                                                                  TNC02743
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 146 of 244 Page ID
                                  #:7528
                                     Ursa Major



                                                     Fortifying Face Balm
                                                     538.00




                                                     ***** ~
                                                     AliaNwecJ>t&elmoisturi-lo~~llydr, t•and
                                                     noo.ritl'lslaft.


                            Ursa
                            Major
                            ~~r.:.
                                                         ■ OkE•THIE PURCW.SE:




                                                  100%




                                                                                               TNC02744
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 147 of 244 Page ID
                                  #:7529
               SHOP   ETHOS   SUSIAINABILITV   WLDKAT.                                WLONEWS   WLDIHOUGHl5




                                                  SAFFRON + OAT MILK GLOW SERUM
                                                  o ~ teni"'il ond ~roti"'il serum.
                                                  NEW
                                                  1oz/ 30ml


                                                  *****


                                                  A/,kvlit-~gle>w.NO~-'--wilh,ooQMG{l:!)o/bfOO<I
                                                  -                           ..-lNI-.~
                                                  ,__, _csc.oa1.-.~-.-ao11ron
                                                          _.,._..,.._.....<icky-.~-~~
                                                  ~-bo'f<>ndbriVht,




                                                                           100%




                                                                                                              TNC02745
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 148 of 244 Page ID
                                  #:7530
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q    Yes, same company/manufacturer/source

                    Q    No, different companies/manufacturer/source

                    Q    Not sur e / Don't know




                                          ""                                          '"""




                                                                                                             TNC02746
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 149 of 244 Page ID
                                  #:7531
                   Why do you say that?




                                             1()0%




                                                                  TNC02747
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 150 of 244 Page ID
                                  #:7532


               Our Products "   Regenerative Mission   Superplant Skincare   Our Skin Health Philosophy          Ingredients      Blog       Connect with Us


                                                                               SENSITIVE SKIN FACE
                                                                               BALM - STRESS DEFENSE
                                                                               - 2 FL. OZ. (60ML)
                                                                               * * * * *9reviews
                                                                               S 16.96




                                                                                 • Product Desc11p1ion
                                                                                 • Our Commitments

                                                                                   This natural moisturizer, •long with Thrive's Sensitive
                                                                                   Skin Face Wash, packs lhe perlect one•two punch lo star1
                                                                                   your day. This balm delivers the same benelits as our regular
                                                                                   Face Balm but was specially designed lor Sensitive Skin,
                                                                                   damaged trorn the daily 1tre111 and pollution of an active life,
                                                                                   Thrives Restoring Face Balm he!ps hydrate, restore. and
                                                                                   p,otec-t your lace. Our natural formula i$ made with high•
                                                                                   quality plant extracts with no added fragrance that make your
                                                                                   skin loo!( and /eel healthier.




                                                                                                                                                               TNC02748
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 151 of 244 Page ID
                                  #:7533
               SHOP   ETHOS   SUSIAINABILITV   WLDKAT.                                WLONEWS   WLDIHOUGHl5




                                                  SAFFRON + OAT MILK GLOW SERUM
                                                  o ~ teni"'il ond ~roti"'il serum.
                                                  NEW
                                                  1oz/ 30ml


                                                  *****


                                                  A/,kvlit-~gle>w.NO~-'--wilh,ooQMG{l:!)o/bfOO<I
                                                  -                           ..-lNI-.~
                                                  ,__, _csc.oa1.-.~-.-ao11ron
                                                          _.,._..,.._.....<icky-.~-~~
                                                  ~-bo'f<>ndbriVht,




                                                                           100%




                                                                                                              TNC02749
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 152 of 244 Page ID
                                  #:7534
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q    Yes, same company/manufacturer/source

                    Q    No, different companies/manufacturer/source

                    Q    Not sur e / Don't know




                                          ""                                          '"""




                                                                                                             TNC02750
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 153 of 244 Page ID
                                  #:7535
                   Why do you say that?




                                             1()0%




                                                                  TNC02751
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 154 of 244 Page ID
                                  #:7536
                   If you said different companies, do you believe t hat these companies are affiliated, connected, or
                   associated with each other?


                    Q    Yes, companies are affiliated, connected or associated

                    0    No, companies are not affiliated, con nected or associated

                    0    Not sure/ Don't know




                                                                        -                    100%




                                                                                                                         TNC02752
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 155 of 244 Page ID
                                  #:7537
                   Why do you say that?




                                             1()0%




                                                                  TNC02753
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 156 of 244 Page ID
                                  #:7538

                   Please enter the number 865 in the box below.




                                          ""




                                                                   TNC02754
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 157 of 244 Page ID
                                  #:7539
                   Please read the scenario below and answer the question that follows.



                        When researching skin care products you notice an ln stagram post showing a skin
                        moisturizer with the hashtag #THRIVETRIBE. Later in t he same search you see a second post
                        with the hashtag #THRIVETRIBE also showing a picture of a skin moisturizer.



                   Do you believe that these two posts refer to products that come from the same company or companies
                   that are affiliated, connected, or associated with each other, or from different companies that are not
                   affiliated, connected, or associated with each other?


                    Q    ;~~·nt=c~:~~:::s::~i~:; the same company or com panies that are affiliated,

                    Q    ~s:!::;:osts are from different companies that a re not affiliated, connected, or


                    Q    Not sure/ Don't know




                                                                      -




                                                                                                                             TNC02755
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 158 of 244 Page ID
                                  #:7540
                   Are you ...


                    Q      Mal e

                    Q      Female

                    Q      Rather not say




                                            ""   '"""




                                                                  TNC02756
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 159 of 244 Page ID
                                  #:7541
                   What is the highest level of school you have completed or the highest degree you have received?


                    Q    Less than high school degree

                    Q    High school degree or equivalent (e.g., GED)

                    Q    Some college but no degree

                    Q    Associate degree

                    Q    Bachelor degree

                    Q    Graduate degree




                                            ""
                                                                        -                 "'""




                                                                                                                     TNC02757
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 160 of 244 Page ID
                                  #:7542
                  What state do you live in?




                                               100%




                                                                  TNC02758
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 161 of 244 Page ID
                                  #:7543
                   What is your approximate average household income?


                    0    $0-$24,999

                    0    $25,000-S49,999


                    0    $50,000- $74,999

                    0    $75,000- $99,999

                    0    $100,000- S124,999


                    0    $ 125,000- $149,999

                    0    $ 150,000- $174,999

                    0    $175,000- $199,999


                    0    $200,000 and up


                    0    Rather not say




                                                                        1()()%




                                                                                 TNC02759
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 162 of 244 Page ID
                                  #:7544




      TRIAL EXHIBIT NO. 349
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 163 of 244 Page ID
                                  #:7545
                  Thank you for taking time to participate in our survey.




                                                                            TNC02760
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 164 of 244 Page ID
                                  #:7546
                  Thank you for taking time to participate in our survey.




                                             °"   I                         100%




                                                                                   TNC02761
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 165 of 244 Page ID
                                  #:7547
                   What is your age?


                    0    Younger than 18

                    0    18-20

                    0    2 1-29

                    0    30-39

                    0    40-49

                    0    50-59

                    0    60-65

                    0    66 or older




                                           °" •
                                                  -   100%




                                                                  TNC02762
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 166 of 244 Page ID
                                  #:7548
                   In the last 6 months have you purchased dental care products for your own use?


                    Q    Yes

                    Q    No




                                          "-                                             100%




                                                                                                    TNC02763
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 167 of 244 Page ID
                                  #:7549
                   In the next 6 months do you plan to purchase dent.al care prod ucts for your own use?


                    Q    Yes

                    Q    No




                                           "-                                              100%




                                                                                                           TNC02764
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 168 of 244 Page ID
                                  #:7550
                   In the last 6 months have you purchased skin care p roducts for your own use?


                    Q    Yes

                    0    No




                                          .,. .                                           100%




                                                                                                   TNC02765
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 169 of 244 Page ID
                                  #:7551
                   In the past 6 months, where have you purchased skin ca re prod uct s?

                   (Select all that apply.)



                    □     Internet


                    □     Beauty supply store


                    □     Retail outlet


                    □     Other




                                              "-                                           100%




                                                                                                  TNC02766
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 170 of 244 Page ID
                                  #:7552
                   In the next 6 months do you plan to purchase skin care products for your own use?


                    Q    Yes

                    Q    No




                                          "-                                             100%




                                                                                                       TNC02767
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 171 of 244 Page ID
                                  #:7553
                   In the next 6 months, where do you plan to purchase skin care products?

                   (Select all that apply.)



                    □     Internet


                    □     Beauty supply store


                    □     Retail outlet


                    □     Other




                                              "-                                         100%




                                                                                                TNC02768
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 172 of 244 Page ID
                                  #:7554
                   In the past month have you used the Internet to search for products or services?


                    Q    Yes

                    Q    No




                                           "-                                              100%




                                                                                                      TNC02769
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 173 of 244 Page ID
                                  #:7555
                  Have you or anyone in your household ever worked for ...


                                                                                   Yes     No

                   An advertising agency                                           0       0
                   A consumer research firm                                        0       0
                   A personal care product manufacturer. retailer or distributor   0       0
                   A dental car e product manufacturer or retai ler                0       0




                                             "-
                                                                        -           100%




                                                                                                TNC02770
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 174 of 244 Page ID
                                  #:7556
                   Are you taking this survey on ...


                    Q     A laptop or desktop computer

                    0     Atablet

                    Q     Aphone




                                             "-          '"""




                                                                  TNC02771
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 175 of 244 Page ID
                                  #:7557
                   Will you agree to a nswer the questions without hel p or assistance, answer truthfully and do not guess?


                    Q    Yes

                    Q    No




                                           "-                                               100%




                                                                                                                              TNC02772
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 176 of 244 Page ID
                                  #:7558
                   Do you need contacts or glasses for reading?


                    Q    Yes

                    Q    No




                                          "-                      100%




                                                                         TNC02773
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 177 of 244 Page ID
                                  #:7559
                   If so, will you be wearing them wh en completing t he survey?


                    Q    Yes

                    Q    No




                                           "-                                      100%




                                                                                          TNC02774
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 178 of 244 Page ID
                                  #:7560
                   Please understand that we are only interested in your opinions or beliefs. If you don't have an opinion or
                   belief or don't know the answer to a question, that is an acceptable answer. Do you agree not to guess
                   or get information from anyone else, from the internet or any other source?


                    Q    Yes

                    Q    No




                                                                       -                    100%




                                                                                                                                TNC02775
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 179 of 244 Page ID
                                  #:7561
                   You are about to see images of four products, each featured as yo u would see them when purchasing
                   them.

                   Please view the following images as if you were shopping for these products with the possible intent to
                   purchase them. For the questions, if you do not have an opinion or are unsure of your opinion, it's
                   perfectly a ll right to say so.




                                           "-
                                                                       -                   "'""




                                                                                                                             TNC02776
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 180 of 244 Page ID
                                  #:7562
               PRODUCT ONE




                 Our Products "   Regenerative Mission   Superpla.nt Skincare   Our Skin Health Phi losophy    Ingredients   B!og   Connect with Us


                                                                                   ENERGY SCRUB
                                                                                   *****
                                                                                   $1 1.86
                                                                                                 127 reviews




                                                                                   0   One-time purchase:$ 13.95


                                                                                   @ Subscribe& Save(15%): $ 11.86


                                                                                       Deliver every   1 Month    .,




                                                                                   Natural Face Scrub for Men & Women - Exfolialing Face Wash
                                                                                   with Anti-Oxidants Improves Skin Texture, Unclogs Pores & Helps
                                                                                   Prevent Ingrown Hairs - Made In USA




                                                    °" -                                                 "'°"




                                                                                                                                                      TNC02777
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 181 of 244 Page ID
                                  #:7563
               PRODUCT TWO




                 A
                                             Bright Balance 3-in-1 Cleanser-                          $32
                                             fRlft,,..,....,.""""s.,s....,_ _.~ ( ! )
                                             M--lt'l--onlst:,nc,,..•~tel'l)l'O(ll'fl\UJOl'MICIW'C.:S.-,INI




                 -           t hrive-        le-sklnlftllrt:JOlt•dffl\-d,v•tlJI,~




                                                                            ADO TO BAG




               -
                             "-
                                        -      "'""




                                                                                                             TNC02778
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 182 of 244 Page ID
                                  #:7564
               PRODUCTTHREE

                                        Ursa Major



                                                        Fortifying Face Balm
                                                        $38.00


                                                        .,. _._...,._.,_ ,.,.oflllfJ)O)'c'O

                                                        ***** ~

                              Ursa

                              ,~-
                              Major
                              .,,,,..
                                                            ■ Ol<E · TUIE PURCHASE , $38 , 00




                               "-
                                            -        "'""




                                                                                                TNC02779
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 183 of 244 Page ID
                                  #:7565
               PRODUCT FOUR

               SHOP~   ETHOS   SUST,llHABL TV          WLDKAT.                                  WLONEWS    WLDTHOUGHTS




                                                          SAFFRON + OAT MILK GLOW SERUM
                                                          o bright.ning o nd hydrating s.rum.
                                                          NSW



                                                          •••••
                                                          [DJ

                                                          -.jo.,iey1H...,,.-Qlow.NO~-~wlll'll000MG{!!!)olbrood
                                                          -=-,,._~OC>d.-oollron_."-t _ _ , ~
                                                          -----~.....-....-......ticl<y-.~-k:o'°"'II_,,,,
                                                          ~      . -be'fondbright.




                                                °" -
                                                           -                         100%




                                                                                                                         TNC02780
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 184 of 244 Page ID
                                  #:7566
                   What type of products were shown in the images you just reviewed?


                    0    Detergent

                    0    Skin care produces

                    0    Shampoo

                    0    Pet food

                    0    Don't know/ No opinion




                                                                                       TNC02781
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 185 of 244 Page ID
                                  #:7567
                   All of these products can be purchased on line, but we are interested in who you believe makes each of
                   these products, meaning their m anufactur er or source.




                                                                                           "'""




                                                                                                                            TNC02782
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 186 of 244 Page ID
                                  #:7568


                Our Products .,   Regenerative Mission   Supe,p!ant Skincare   Our Skin Health Phi losophy    Ingredients   Blog   Connect with Us


                                                                                  ENERGY SCRUB
                                                                                  *****
                                                                                  $1 1.86
                                                                                                127 reviews




                                                                                  0 One-time purchase: S 13.95


                                                                                  @ Subscribe& Save(15%): $ 11.86


                                                                                     Deliver every    1 Month    ...




                                                                                  Natural Face Scrub for Men & Women - Exfo!iahng Face Wash
                                                                                  with Anti-Oxidants Improves Skin Texture. Unclogs POl"es & Helps
                                                                                  Prevent Ingrown Hairs - Made In USA.




                                                                                                        100%




                                                                                                                                                     TNC02783
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 187 of 244 Page ID
                                  #:7569

                    thrive                                    Slsnln v      Oo         CQ!-Wp 0.

                A
                                             Bright Balance 3-in•l Cleanser-                          $32
                                             fi:i,u,..,,......,....,us.-.,.....,.........ll(IM.i(!)



                -            t hrive-
                             causemetics




                                             """"""'
                                             •     BuyOnc:o




                             ____,
                             ,                                   I MO<lth   v    •~C!>

                                                                                ADO TO BAG




               -
                                                 100%




                                                                                                            TNC02784
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 188 of 244 Page ID
                                  #:7570
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q    Yes, same company/manufacturer/source

                    Q    No, different companies/manufacturer/source

                    Q    Not sur e / Don't know




                                          ""                                          '"""




                                                                                                             TNC02785
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 189 of 244 Page ID
                                  #:7571
                   Why do you say that?




                                             1()0%




                                                                  TNC02786
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 190 of 244 Page ID
                                  #:7572
                   If you said different companies, do you believe t hat these companies are affiliated, connected, or
                   associated with each other?


                    Q    Yes, companies are affiliated, connected or associated

                    0    No, companies are not affiliated, con nected or associated

                    0    Not sure/ Don't know




                                                                        -                    100%




                                                                                                                         TNC02787
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 191 of 244 Page ID
                                  #:7573
                   Why do you say that?




                                             1()0%




                                                                  TNC02788
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 192 of 244 Page ID
                                  #:7574


                Our Products .,   Regenerative Mission   Supe,p!ant Skincare   Our Skin Health Phi losophy    Ingredients   Blog   Connect with Us


                                                                                  ENERGY SCRUB
                                                                                  *****
                                                                                  $1 1.86
                                                                                                127 reviews




                                                                                  0 One-time purchase: S 13.95


                                                                                  @ Subscribe& Save(15%): $ 11.86


                                                                                     Deliver every    1 Month    ...




                                                                                  Natural Face Scrub for Men & Women - Exfo!iahng Face Wash
                                                                                  with Anti-Oxidants Improves Skin Texture. Unclogs POl"es & Helps
                                                                                  Prevent Ingrown Hairs - Made In USA.




                                                                                                        100%




                                                                                                                                                     TNC02789
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 193 of 244 Page ID
                                  #:7575
               SHOP   ETHOS   SUSIAINABILITV   WLDKAT.                                WLONEWS   WLDIHOUGHl5




                                                  SAFFRON + OAT MILK GLOW SERUM
                                                  o ~ teni"'il ond ~roti"'il serum.
                                                  NEW
                                                  1oz/ 30ml


                                                  *****


                                                  A/,kvlit-~gle>w.NO~-'--wilh,ooQMG{l:!)o/bfOO<I
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                                                  ~-bo'f<>ndbriVht,




                                                                           100%




                                                                                                              TNC02790
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 194 of 244 Page ID
                                  #:7576
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q     Yes, same company/manufacturer/source

                    Q     No, different companies/manufacturer/source

                    (i)   Not sur e / Don't know




                                           ""                                         '"""




                                                                                                             TNC02791
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 195 of 244 Page ID
                                  #:7577
                   Why do you say that?




                                             1()0%




                                                                  TNC02792
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 196 of 244 Page ID
                                  #:7578

                    thrive                                    Slsnln v      Oo         CQ!-Wp 0.

                A
                                             Bright Balance 3-in•l Cleanser-                          $32
                                             fi:i,u,..,,......,....,us.-.,.....,.........ll(IM.i(!)



                -            t hrive-
                             causemetics




                                             """"""'
                                             •     BuyOnc:o




                             ____,
                             ,                                   I MO<lth   v    •~C!>

                                                                                ADO TO BAG




               -
                                                 100%




                                                                                                            TNC02793
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 197 of 244 Page ID
                                  #:7579
                                     Ursa Major



                                                     Fortifying Face Balm
                                                     538.00




                                                     ***** ~
                                                     AliaNwecJ>t&elmoisturi-lo~~llydr, t•and
                                                     noo.ritl'lslaft.


                            Ursa
                            Major
                            ~~r.:.
                                                         ■ OkE•THIE PURCW.SE:




                                                  100%




                                                                                               TNC02794
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 198 of 244 Page ID
                                  #:7580
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q    Yes, same company/manufacturer/source

                    Q    No, different companies/manufacturer/source

                    Q    Not sur e / Don't know




                                          ""                                          '"""




                                                                                                             TNC02795
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 199 of 244 Page ID
                                  #:7581
                   Why do you say that?




                                             1()0%




                                                                  TNC02796
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 200 of 244 Page ID
                                  #:7582


                Our Products .,   Regenerative Mission   Supe,p!ant Skincare   Our Skin Health Phi losophy    Ingredients   Blog   Connect with Us


                                                                                  ENERGY SCRUB
                                                                                  *****
                                                                                  $1 1.86
                                                                                                127 reviews




                                                                                  0 One-time purchase: S 13.95


                                                                                  @ Subscribe& Save(15%): $ 11.86


                                                                                     Deliver every    1 Month    ...




                                                                                  Natural Face Scrub for Men & Women - Exfo!iahng Face Wash
                                                                                  with Anti-Oxidants Improves Skin Texture. Unclogs POl"es & Helps
                                                                                  Prevent Ingrown Hairs - Made In USA.




                                                                                                        100%




                                                                                                                                                     TNC02797
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 201 of 244 Page ID
                                  #:7583
                                     Ursa Major



                                                     Fortifying Face Balm
                                                     538.00




                                                     ***** ~
                                                     AliaNwecJ>t&elmoisturi-lo~~llydr, t•and
                                                     noo.ritl'lslaft.


                            Ursa
                            Major
                            ~~r.:.
                                                         ■ OkE•THIE PURCW.SE:




                                                  100%




                                                                                               TNC02798
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 202 of 244 Page ID
                                  #:7584
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q     Yes, same company/manufacturer/source

                    (i)   No, different companies/manufacturer/source

                    Q     Not sur e / Don't know




                                           ""                                         '"""




                                                                                                             TNC02799
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 203 of 244 Page ID
                                  #:7585
                   Why do you say that?




                                             1()0%




                                                                  TNC02800
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 204 of 244 Page ID
                                  #:7586
                   If you said different companies, do you believe t hat these companies are affiliated, connected, or
                   associated with each other?


                    Q    Yes, companies are affiliated, connected or associated

                    0    No, companies are not affiliated, con nected or associated

                    0    Not sure/ Don't know




                                                                        -                    100%




                                                                                                                         TNC02801
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 205 of 244 Page ID
                                  #:7587
                   Why do you say that?




                                             1()0%




                                                                  TNC02802
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 206 of 244 Page ID
                                  #:7588

                    thrive                                    Slsnln v      Oo         CQ!-Wp 0.

                A
                                             Bright Balance 3-in•l Cleanser-                          $32
                                             fi:i,u,..,,......,....,us.-.,.....,.........ll(IM.i(!)



                -            t hrive-
                             causemetics




                                             """"""'
                                             •     BuyOnc:o




                             ____,
                             ,                                   I MO<lth   v    •~C!>

                                                                                ADO TO BAG




               -
                                                 100%




                                                                                                            TNC02803
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 207 of 244 Page ID
                                  #:7589
               SHOP   ETHOS   SUSIAINABILITV   WLDKAT.                                WLONEWS   WLDIHOUGHl5




                                                  SAFFRON + OAT MILK GLOW SERUM
                                                  o ~ teni"'il ond ~roti"'il serum.
                                                  NEW
                                                  1oz/ 30ml


                                                  *****


                                                  A/,kvlit-~gle>w.NO~-'--wilh,ooQMG{l:!)o/bfOO<I
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                                                  ~-bo'f<>ndbriVht,




                                                                           100%




                                                                                                              TNC02804
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 208 of 244 Page ID
                                  #:7590
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q    Yes, same company/manufacturer/source

                    Q    No, different companies/manufacturer/source

                    Q    Not sur e / Don't know




                                          ""                                          '"""




                                                                                                             TNC02805
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 209 of 244 Page ID
                                  #:7591
                   Why do you say that?




                                             1()0%




                                                                  TNC02806
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 210 of 244 Page ID
                                  #:7592
                                     Ursa Major



                                                     Fortifying Face Balm
                                                     538.00




                                                     ***** ~
                                                     AliaNwecJ>t&elmoisturi-lo~~llydr, t•and
                                                     noo.ritl'lslaft.


                            Ursa
                            Major
                            ~~r.:.
                                                         ■ OkE•THIE PURCW.SE:




                                                  100%




                                                                                               TNC02807
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 211 of 244 Page ID
                                  #:7593
               SHOP   ETHOS   SUSIAINABILITV   WLDKAT.                                WLONEWS   WLDIHOUGHl5




                                                  SAFFRON + OAT MILK GLOW SERUM
                                                  o ~ teni"'il ond ~roti"'il serum.
                                                  NEW
                                                  1oz/ 30ml


                                                  *****


                                                  A/,kvlit-~gle>w.NO~-'--wilh,ooQMG{l:!)o/bfOO<I
                                                  -                           ..-lNI-.~
                                                  ,__, _csc.oa1.-.~-.-ao11ron
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                                                  ~-bo'f<>ndbriVht,




                                                                           100%




                                                                                                              TNC02808
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 212 of 244 Page ID
                                  #:7594
                   Do you believe that these two products come from t he same company/manufacturer/source?


                    Q    Yes, same company/manufacturer/source

                    Q    No, different companies/manufacturer/source

                    Q    Not sur e / Don't know




                                          ""                                          '"""




                                                                                                             TNC02809
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 213 of 244 Page ID
                                  #:7595
                   Why do you say that?




                                             1()0%




                                                                  TNC02810
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 214 of 244 Page ID
                                  #:7596

                   Please enter the number 865 in the box below.




                                          ""




                                                                   TNC02811
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 215 of 244 Page ID
                                  #:7597
                   Please read the scenario below and answer the question that follows.



                        When researching skin care products you notice an ln stagram post showing a skin
                        moisturizer with the hashtag #THRIVETRIBE. Later in t he same search you see a second post
                        with the hashtag #THRIVETRIBE also showing a picture of a skin moisturizer.



                   Do you believe that these two posts refer to products that come from the same company or companies
                   that are affiliated, connected, or associated with each other, or from different companies that are not
                   affiliated, connected, or associated with each other?


                    Q    ;~~·nt=c~:~~:::s::~i~:; the same company or com panies that are affiliated,

                    Q    ~s:!::;:osts are from different companies that a re not affiliated, connected, or


                    Q    Not sure/ Don't know




                                                                      -




                                                                                                                             TNC02812
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 216 of 244 Page ID
                                  #:7598
                   Are you ...


                    Q      Mal e

                    Q      Female

                    Q      Rather not say




                                            ""   '"""




                                                                  TNC02813
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 217 of 244 Page ID
                                  #:7599
                   What is the highest level of school you have completed or the highest degree you have received?


                    Q    Less than high school degree

                    Q    High school degree or equivalent (e.g., GED)

                    Q    Some college but no degree

                    Q    Associate degree

                    Q    Bachelor degree

                    Q    Graduate degree




                                            ""
                                                                        -                 "'""




                                                                                                                     TNC02814
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 218 of 244 Page ID
                                  #:7600
                  What state do you live in?




                                               100%




                                                                  TNC02815
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 219 of 244 Page ID
                                  #:7601
                   What is your approximate average household income?


                    0    $0-$24,999

                    0    $25,000-S49,999


                    0    $50,000- $74,999

                    0    $75,000- $99,999

                    0    $100,000- S124,999


                    0    $ 125,000- $149,999

                    0    $ 150,000- $174,999

                    0    $175,000- $199,999


                    0    $200,000 and up


                    0    Rather not say




                                                                        1()()%




                                                                                 TNC02816
Case 2:20-cv-09091-PA-AS Document 164 Filed 10/26/21 Page 220 of 244 Page ID
                                  #:7602




      TRIAL EXHIBIT NO. 114
8/27/2021                                      Amazon.com
            Case 2:20-cv-09091-PA-AS Document 164   Filed: thrive cream
                                                            10/26/21    Page 221 of 244 Page ID
                                                                                           EXHIBIT
                                              #:7603
                        Hello                                                                                                 Hello, Sign in             Returns           0
  Skip to main content


     All
                     Select your address

            Best Sellers   Customer Service
                                                 All



                                                Prime
                                                          thrive cream


                                                            New Releases     Pharmacy      Books    Today's Deals     Fashion
                                                                                                                              Account & Lists
                                                                                                                                                         114
                                                                                                                                                         & Orders


                                                                                                                                            Last-minute school supplies

   1-48 of over 2,000 results for "thrive cream"                                                                                                     (Sort  by:Featured )
                                                                                                                                                      Featured
                                                                                                                                                       Sort by:


   Eligible for Free Shipping
       Free Shipping by Amazon                                           Unisex Skincare Powered by Regenerative Plants
   All customers get FREE Shipping                                       Shop Thrive Natural Care
   on orders over $25 shipped by
   Amazon

   Amazon Local Stores
      Amazon Fresh
     See more

   Climate Pledge Friendly
      Climate Pledge Friendly
                                          THRIVE Natural Face Wash Gel for Men &      THRIVE Natural Moisturizing Mineral        Thrive Natural Men's Skin Care Set (3
                                          Women – Daily Facial Cleanser with…         Face Sunscreen SPF 30, 2 Ounces – Li…      Piece) - Grooming Gift Set To Wash, S…
   Department
                                                           718                                      1,662                                          813
   Beauty & Personal Care
    Face Moisturizers
                                                                                                                                                               Sponsored
    Makeup
    Body Creams
    Facial Treatments & Masks
   Health & Household
    Health Care Products
     See All 20 Departments

   Customer Reviews
                    & Up
                    & Up
                    & Up
                    & Up


   Brand
                                          Sponsored                                   THRIVE All Natural Face                    Thrive Causemetics Buildable
      Neutrogena
      CeraVe                              THRIVE Natural Face                         Cream for Sensitive Skin –                 Blur CC Cream Beige Golden
      EltaMD                              Moisturizer – Non-Greasy                    Facial Moisturizer Restores,               Neutral Undertones 30mL
      L'Oreal Paris                       Soothing Facial Moisturizer                 Protects Skin & Helps Sooth…               Cream · 1 Fl Oz (Pack of 1)
      La Roche-Posay
                                          Lotion for Men & Women…                     2 Fl Oz (Pack of 1)                        $ 3600 ($36.00/Fl Oz)
   Price                                  2 Fl Oz (Pack of 1)                                         226
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      Petrolatum
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   Skin Care Formulation
   Bar
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            Case 2:20-cv-09091-PA-AS Document 164   Filed: thrive cream
                                                            10/26/21    Page 222 of 244 Page ID
          Capsule                             #:7604
      Cream                             THRIVE Natural Shave Oil for               LUXAZA 6 PCS Neutral and                Julep Eyeshadow 101 Crème
      Gel                               Men, 2Oz (3 Pack) – Replaces               Brown Metallic Eyeshadow                to Powder Waterproof
      Liquid                            Pre-Shave Oils, Shaving                    Stick,Warm to Cool Cream                Eyeshadow Stick, Sand
      Lotion                            Creams, Gels, and Foams –…                 Shimmer Eyeshadow Pencil…               Shimmer
      Oil
                                                         555                       6 Count (Pack of 1)                     1 Count (Pack of 1)
     See more
                                                                                                                   4,156                  14,894
   Beauty Product Attributes
                                        $
                                         4795 ($7.99/Fl Oz)
      Alcohol Free
                                        Save more with Subscribe & Save            $
                                                                                     1899                                  $
                                                                                                                            1500
                                        Join Prime to save $4.80 on this           Save more with Subscribe & Save
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   Gender
      Women's
      Men's
      Unisex

   Skin Type                                                                           FARM                    CY
      All                                                                                                                                   ~
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      Oily




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      Sensitive

   FSA or HSA Eligible
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      FSA or HSA Eligible
                                        THRIVE Natural Face                        Farmacy Daily Greens Oil Free           EltaMD Skin Recovery Face
   International Shipping
                                        Moisturizer – Non-Greasy                   Gel Face Moisturizer - Daily            Light Moisturizer Lotion,
       International Shipping
   Eligible                             Soothing Facial Moisturizer                Facial Moisturizing Cream with          Amino Acid and Hyaluronic
                                        Lotion for Men & Women…                    Hyaluronic Acid (1.7 Fl Oz)             Acid Formula, Fragrance Free…
   New Arrivals
                                        2 Fl Oz (Pack of 1)                        1.7 Fl Oz (Pack of 1)                   1.7 Fl Oz (Pack of 1)
   Last 90 days
                                                         475                                                       258                    133
   Packaging Option
                                        $1595 ($7.98/Fl Oz)                        $3800 ($22.35/Fl Oz)                    $3900 ($22.94/Fl Oz)
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                                                                                                                           Cream for Sensitive Skin –
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                                        Your Skin But Better CC Cream        IT Cosmetics Your Skin But               LilyAna Naturals Eye Cream -
                                        Oil-Free Matte with SPF 40 -         Better CC+ Cream, Medium                 2-Month Supply - Made in
                                        Light Medium                         (W) - Color Correcting Cream,            USA, Eye Cream for Dark
                                        1.08 Fl Oz (Pack of 1)               Full-Coverage Foundation,…               Circles and Puffiness, Under…
                                                      894                    1.08 Fl Oz (Pack of 1)                   1.69 Ounce (Pack of 1)
                                                                                                   13,063                            19,562
                                        $4391 ($40.66/Fl Oz)
                                                Get it as soon as Tue, Aug
                                                                             $
                                                                              3315 $36.46                             $
                                                                                                                       2999 ($23.07/ounce) $39.99
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                                        Julep Eyeshadow 101 Crème            WINDSOR BOTANICALS Anti-                 Revive Science Eye Cream -
                                        to Powder Waterproof                 Aging Caffeine Eye Cream -               Under Eye Cream for Dark
                                        Eyeshadow Stick, Duo; Desert         Age-Defying AHA Formula -                Circles and Puffiness with
                                        & Champagne                          Moisturizes, Reduces Wrinkle…            Collagen, Caffeine, Vitamin K…
                                        2 Count (Pack of 1)                  1.01 Fl Oz (Pack of 1)                   0.5 Fl Oz (Pack of 1)
                                                      1,303                                        893                               1,172
                                        $
                                         2400                                $2099 ($20.99/Ounce)                     $1996 ($39.92/Fl Oz) $24.95

                                                Get it as soon as Thu, Sep   $18.89 with Subscribe & Save             Save more with Subscribe & Save
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                                                            10/26/21    Page 224 of 244 Page ID
                                              #:7606




                                        e.l.f, Monochromatic Multi            Glo Skin Beauty Cream Stay           LUXAZA 3Pcs Neutral Brown
                                        Stick, Creamy, Lightweight,           Shadow Stick                         Eyeshadow Stick Set, Matte
                                        Versatile, Luxurious, Adds            1 Count (Pack of 1)                  And Shimmer Creamy
                                        Shimmer, Easy To Use On Th…                         283                    Eyeshadow Pencil, Shiny Pin…
                                        0.15 Ounce (Pack of 1)                                                     3 Count (Pack of 1)
                                                                              $2000 ($12.50/Ounce)
                                                          10,684              Save more with Subscribe & Save                    381
                                        $
                                         400                                          Get it as soon as Mon,       $
                                                                                                                    999
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                                        treStiQue Cream Matte                 WUNDER2 SUPER-STAY STICK             Anti Aging Eye Cream for Dark
                                        Shadow Crayon, Eyeshadow              EYESHADOW Makeup                     Circles and Puffiness that
                                        Stick With Built-In Blending          Sandstorm Eye Shadow Pencil          Reduces Eye Bags, Crow's Feet,
                                        Brush, Eye Makeup Pencil,…            Crayon Long Lasting…                 Fine Lines, and Sagginess in…
                                        1 Count (Pack of 1)                   1 Count (Pack of 1)                  0.51 Fl Oz (Pack of 1)
                                                          39                                930                                  4,118
                                        $
                                         2400                                 $
                                                                               1900                                $
                                                                                                                    1697 ($33.27/Fl Oz) $30.00
                                         Save 30% with coupon                 Save more with Subscribe & Save      Save more with Subscribe & Save
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                                        shipped by Amazon                     shipped by Amazon                    FREE Shipping on orders over $25
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                                                            10/26/21        Page 225 of 244 Page ID
                                              #:7607               ... ..,_
                                                                  bbcream



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                                                                                                   creme bb




                                        purlisse Youth Glow Vitamin C            COVERGIRL Clean Matte BB                           Julep Skip The Brush Crème
                                        CC Cream SPF 50: Cruelty-Free            Cream For Oily Skin, Fair 510,                     To Powder Cream Blush Stick
                                        & Clean, Paraben & Sulfate-              (Packaging May Vary) Water-                        For Cheeks, Eyes & Lips, Peony
                                        Free, Full Coverage, Hydrates…           Based Oil-Free Matte Finish …                      Pink
                                        1.35 Fl Oz (Pack of 1)                   Cream · 1 Fl Oz (Pack of 1)                        1 Count (Pack of 1)
                                                              873                                   5,395                                            2,507
                                        $38     00 ($27.14/Ounce)                $6  94                                             $18 00

                                        Save more with Subscribe & Save          $6.59 with Subscribe & Save                        $16.20 with Subscribe & Save
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                                        FOCALLURE (3 Pcs) 2 in 1                 THRIVE Natural Moisturizing                        L'Oreal Paris Skincare
                                        Eyeshadow and Eyeliner Pen,              Mineral Face Sunscreen SPF                         Revitalift Anti-Wrinkle and
                                        Waterproof Eye Shadow                    30, 2 Ounces – Lightweight                         Firming Eye Cream with Pro
                                        Pencil, Hypoallergenic…                  Moisturizer Broad-Spectrum…                        Retinol, Treatment to Reduc…
                                                              248                SPF 30 · 2 Fl Oz                                   0.5 Ounce (Pack of 1)
                                                                                                    1,662                                            4,363
                                        $
                                         1599
                                        Save more with Subscribe & Save          $
                                                                                  2495 ($12.48/Fl Oz)                               $
                                                                                                                                     1212 ($24.24/Ounce) $17.99
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                                              #:7608



                                        BOOM! by Cindy Joseph                    Sponsored                                   Sponsored

                                        Cosmetics Boomstick Color -              purlisse Perfect Glow BB                    Olay Regenerist Retinol
                                        Lip & Cheek Tint Makeup                  Cream SPF 30: Cruelty-Free &                Moisturizer, Retinol 24 Night
                                        Sticks for Older Women &…                Clean, Paraben & Sulfate-Free,              Face Cream, 1.7 Oz + Whip
                                        1 Count (Pack of 1)                      Medium Coverage, Hydrates…                  Face Moisturizer Travel/Trial…
                                                          2,222                  1.4 Ounce (Pack of 1)                                        8,580
                                                                                                   3,153
                                        $
                                         2800                                                                                $
                                                                                                                              4556 ($45.56/Count)
                                        $25.20 with Subscribe & Save             $35  00 ($25.00/Ounce)                      Save more with Subscribe & Save
                                        discount                                 $33.25 with Subscribe & Save                 Save $12.00 with coupon
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                                        31                                                   Get it as soon as Tue, Aug      Aug 30
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                                                                                                                                          =POWDER=
                                                                                                                                          -=-
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                                        Sponsored                                KARADIUM Shining Pearl                      Hoosier Hill Farm Sour Cream
                                        THRIVE Natural Shave Oil for             Smudging Eye Shadow Stick                   Powder, 1 Pound
                                        Men, 2Oz (3 Pack) – Replaces             1.4g (#2 Ice pink) - Waterproof             1 Pound (Pack of 1)
                                        Pre-Shave Oils, Shaving                  Long Lasting Daily Eye…                                      2,392
                                        Creams, Gels, and Foams –…               0.05 Ounce (Pack of 1)                      $1599 ($1.00/Ounce)
                                                          555                                      296                       $15.19 with Subscribe & Save
                                                                                                                             discount
                                        $4795 ($7.99/Fl Oz)                      $975 ($198.98/Ounce)
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                                        IT Cosmetics Your Skin But               HAN Skincare Cosmetics All
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                                                                                                                             Alleyoop 11th Hour Cream
                                        Better CC+ Cream                         Natural Multistick, Rose Berry              Eyeshadow Sticks - Charcolit
                                        Illumination, Light (W) - Color          1 Count (Pack of 1)                         (Shimmer) - Award-winning -
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                                                                     10/26/21     Page 227( of 244 ) Page ID g
                                             g ( )                   (          )
                              Correcting Cream, Full-…
                                                       #:7609                             Smudge-proof and Crease…
                                                                                                5,268
                                        1.08 Fl Oz (Pack of 1)                                                         1 Count (Pack of 1)
                                                                              $16    00 ($80.00/Ounce)
                                                         3,164                Save more with Subscribe & Save                             97
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                                        Supergoop! CC Screen - SPF            Erinde Dual Colors Eyeshadow             e.l.f. Holy Hydration! Eye
                                        50 PA++++ CC Cream, 100%              Stick, Glitter Shimmer Eye               Cream | Infused with
                                        Mineral Color-Corrector &             Shadow Stick Makeup, Cream               Hyaluronic Acid & Peptides |
                                        Broad Spectrum Sunscreen -…           Gradient Eyeshadow Makeup…               Minimizes Dark Circles | 0.53…
                                        Cream · 1.6 Fl Oz (Pack of 1)         4 Count (Pack of 1)                      0.53 Ounce (Pack of 1)
                                                         595                                    15                                        2,331
                                        $
                                         39  00 ($6.50/Fl Oz)                     Save 11%                             $
                                                                                                                        9  48 ($19.35/Ounce) $10.00

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                                                                               799 $8.99
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                                        Lumene CC Color Correcting            16Pcs Glitter Eyeshadow Stick,           Julep When Pencil Met Gel
                                        Cream, Medium                         Petansy Soft Smooth Cream                Long-Lasting Waterproof Gel
                                        1 Fl Oz (Pack of 1)                   Eyeshadow Crayon,                        Eyeliner, Smoky Taupe
                                                         1,561                Waterproof Long Lasting…                 Shimmer
                                                                                                2                      0.04 Ounce (Pack of 1)
                                        $11  69 ($11.69/Fl Oz) $14.99         $18    89                                                   3,378
                                        $11.11 with Subscribe & Save                  Get it as soon as Tue, Aug       $1200
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                                       Physicians Formula Super CC           IT Cosmetics Your Skin But           Revlon Colorstay Creme Eye
                                       Color-Correction + Care CC            Better CC+ Cream, Fair (W) -         Shadow, Longwear Blendable
                                       Cream, Light/Medium 1.2               Color Correcting Cream, Full-        Matte or Shimmer Eye Makeup
                                       Ounces, SPF 30                        Coverage Foundation,…                with Applicator Brush in…
                                       1.2 Fl Oz (Pack of 1)                 1.08 Fl Oz (Pack of 1)               0.18 Ounce (Pack of 1)
                                                      4,307                                   377                                  7,333
                                       $
                                        1508                                 $
                                                                              2374 ($23.74/Count) $29.99          $
                                                                                                                   636 ($39.75/Ounce) $7.99
                                       $14.33 with Subscribe & Save          Get it Thu, Sep 2 - Wed, Sep 8                 Get it as soon as Mon,
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                                       L'Oreal Paris Makeup Brilliant        WENSUNNIE 12 Colors                  Thrive Causemetics Brilliant
                                       Eyes Shimmer Liquid Eye               Eyeshadow Stick(2nd Gen              Eye Brightener - Meiko (Soft
                                       Shadow, Longwearing Lasting           Upgraded Rotation) - Double          Pink Shimmer)
                                       Shimmer, Crease Resistant,…           Colors Eye Shadow Stick…             1 Count (Pack of 1)
                                       0.1 Fl Oz (Pack of 1)                 6 Count (Pack of 1)                                   127
                                                      1,309                                   171                 $
                                                                                                                   4074 ($831.43/Ounce)
                                       $8  99 $9.99                          $13  79 $14.95
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                                       discount                                      Get it as soon as Tue, Aug   More Buying Choices
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                                                                 10/26/21    Page 229 of 244 Page ID
                              $5.90 (6 new offers) #:7611




                                        Desk Assembly                     Jolie Waterproof Indelible             NYX Professional Makeup
                                                                          Creme Eye Shadow 3g (Nude              infinite Shadow Stick, Almond,
                                        $65  00
                                                                          Frost)                                 0.19 Ounce
                                        Pros are available in ZIP 07652
                                                                          0.1 Ounce (Pack of 1)                  0.19 Ounce (Pack of 1)
                                                                                           256                                  140
                                                                          $
                                                                           2000                                  $
                                                                                                                  1099
                                                                          $19.00 with Subscribe & Save           Get it Wed, Sep 1 - Tue, Sep 7
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                                                                           Save 7% with coupon
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                                        Beauty For Real Blush + Glo,      Instant FIRMx Temporary Face           KARADIUM Shining Pearl
                                        Coral Crush + Hi Beam - Blush     Tightener, Firm and Smooth             Smudging Eye Shadow Stick,
                                        + Highlighter Stick - Cream-      the Look of Fine Lines                 1.4 g, #9 Rose Gold
                                        to-Powder Mineral Formula -…                       2,449                 0.05 Ounce (Pack of 1)
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                                        5 Colors Eyeshadow Stick             Sponsored                            Sponsored

                                        Shimmer Glitter Eyeshadow            Revive Science Eye Cream -           TROIAREUKE Anti-Wrinkle Eye
                                        Cream Eyeshadow Stick                Under Eye Cream for Dark             Cream 0.84 oz, Intensive Anti-
                                        Metallic Eye Shadow Pencil…          Circles and Puffiness with           Aging Eye Cream For Face and
                                        5 Count (Pack of 1)                  Collagen, Caffeine, Vitamin K…       Neck | Professional Eye…
                                                           23                0.5 Fl Oz (Pack of 1)                $12000 ($142.86/Fl Oz)
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                                        Moisturizer Cream with               Eye Cream Cosmetic Serum -           Big sized, Hyaluronic acid,
                                        Hyaluronic Acid, Vitamins B5,        Fights Eye Bags, Fine Lines          Ceramide, Panthenol, Skin
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                                                                                                                   4099 ($2.33/Ounce)
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                                        THRIVE Natural Moisturizing          PetHonesty Allergy                                 Skin Care Liquid Lash
            GNC Pets OMEGA              Mineral Face Sunscreen SPF           SkinHealth - Fish Oil for Dogs                     Extensions Mascara, Crystal
            Dog Supplements-            30, 2 Ounces – Lightweight           with Omegas, DHAGold,                              (Brynn rich black)-0.38oz
            Dog Vitamins and…
            $
              85.49
                                        Moisturizer Broad-Spectrum…          Flaxseed, Probiotics for Itch-…                    0.38 Fl Oz (Pack of 1)
                                        SPF 30 · 2 Fl Oz                                                   5,975                               3
                  Shop now
                                                          1,662              $
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                                        1.08 Fl Oz (Pack of 1)                                             283                  Capsules, 30 Servings by…
                                                          894                                                                                  24
                                                                             $
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                                        IT Cosmetics Your Skin But         HAN Skincare Cosmetics All               PetHonesty Allergy Support
                                        Better CC+ Cream, Medium           Natural Multistick, Rose Berry           Supplement for Dogs - Omega
                                        (W) - Color Correcting Cream,      1 Count (Pack of 1)                      3 Salmon Fish Oil, Colostrum,
                                        Full-Coverage Foundation,…                          5,268                   Digestive Prebiotics &…
                                        1.08 Fl Oz (Pack of 1)                                                                                 22,507
                                                                           $1600 ($80.00/Ounce)
                                                          13,063           Save more with Subscribe & Save          $
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                                        Blur & Brightener Foundatio…       Exfoliating Face Scrub and…              Eye Treatment, Instantly…
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                                        Peter Thomas Roth Skin to Die      THRIVE Natural Face Scrub                PetHonesty 10 in 1 Dog
                                        For No-Filter Mattifying           And Natural Face Wash Gel                Multivitamin with
                                        Primer & Complexion                (BUNDLE) - Vegan And Made                Glucosamine - Essential Dog
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                                        Brown Metallic Eyeshadow           Quad                                     Supplement for Dogs - with
                                        Stick,Warm to Cool Cream           1 Count (Pack of 1)                      Omega 3 Wild Alaskan
                                        Shimmer Eyeshadow Pencil…                            25                     Salmon Fish Oil & EpiCor +…
                                        6 Count (Pack of 1)                                                                               44,405
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                                        Coverage Foundation,…              Face Wash with Anti-Oxidants             Pre-Shave Oils, Shaving
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                              1.08 Fl Oz (Pack of 1)
                                                     #:7621
                                                          Improves Skin Texture,…      Creams, Gels, and Foams –…
                                                          377                    3.38 Fl Oz (Pack of 1)                                555
                                                                                                 1,276
                                        $
                                         2374 ($23.74/Count) $29.99                                                     $
                                                                                                                          4795 ($7.99/Fl Oz)
                                        Get it Thu, Sep 2 - Wed, Sep 8
                                                                                 $14 ($4.42/Fl Oz)
                                                                                      95                                Save more with Subscribe & Save
                                        $5.99 shipping                           $13.46 with Subscribe & Save           Join Prime to save $4.80 on this
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                                        Sponsored                                TULA Skin Care Instant De-             TULA Skin Care Glow & Get It
                                        Image Skincare Vital C                   Puff Eye Renewal Serum |               Cooling & Brightening Eye
                                        Hydrating Repair Creme, 2 oz             Dark Circles Under Eye                 Balm | Dark Circle Under Eye
                                        2 Ounce (Pack of 1)                      Treatment, Reduce Puffiness…           Treatment, Instantly Hydrate…
                                                          1,386                  0.5 Fl Oz (Pack of 1)                  0.35 Ounce (Pack of 1)
                                                                                                 109                                   3,426
                                        $
                                         75     00 ($37.50/Ounce)

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                                                                                  5800 ($116.00/Fl Oz)                  $
                                                                                                                         2800 ($28.00/Count)
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                                        Julep Eyeshadow 101 Crème                Lip Collagen: Rescue Peptide           The Missing Link Supplements
                                        to Powder Waterproof                     & Stem Cell Complex, .25oz             with Balanced Omegas and
                                        Eyeshadow Stick, Rose                    0.25 Ounce (Pack of 1)                 Heart Healthy Fresh Ground
                                        Shimmer                                                  3,746                  Flaxseed in Unique Formulas…
                                        1 Count (Pack of 1)                                                                            1,524
                                                                                 $
                                                                                  1994 ($79.76/Fl Oz) $24.99
                                                          14,894
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                                        TULA Skin Care Face Filter             THRIVE Natural Face Scrub                   Neutrogena Healthy Skin
                                        Blurring and Moisturizing              And Soothing Face Moisturizer               Brightening Eye Perfector
                                        Primer | Smoothing Face                (BUNDLE) - Vegan And Made                   Broad Spectrum Spf 25, Under
                                        Primer, Evens the Appearanc…           in USA                                      Eye Concealer, Light 10, .17…
                                        1 Fl Oz (Pack of 1)                                               2                Stick · 0.17 Ounce (Pack of 1)
                                                          2,516                                                                               415
                                                                               $2595 $30.90
                                        $
                                         34 ($34.00/Fl Oz)
                                             00                                                                            $
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                                        Dr. Jeff’s Daily Canine Care,          BOOM! by Cindy Joseph                       Probiotic Action®
                                        Vet-Formulated Powder                  Cosmetics Boomstick Color -                 Breakthrough probiotic
                                        Supplement for Dogs, with 10           Lip & Cheek Tint Makeup                     Technology for Your Skin.
                                        Strains of Probiotics and L-…          Sticks for Older Women &…                   Acne Treatment. Eczema and…
                                                          826                  1 Count (Pack of 1)                         1.7 Fl Oz (Pack of 1)
                                                                                                          2,222                               243
                                        $
                                         48  00
                                               ($25.95/Ounce)
                                        $43.20 with Subscribe & Save           $
                                                                                2800                                       $
                                                                                                                            1895 ($11.21/Fl Oz)
                                        discount                               $25.20 with Subscribe & Save                Save more with Subscribe & Save
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                                        Fifth & Skin NATURLASH
                                        Natural Mascara (BLACK) -
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                                                                          $6500
                                                                                         .... "'
                                                                                                                                         -
                                                                                                             Liquid I.V. Hydration Multiplier
                                                                                                             - Passion Fruit - Hydration
                                        Hypoallergenic Mascara for                                           Powder Packets | Electrolyte
                                                                          Pros are available in ZIP 07652
                                        Sensitive Eyes – Vegan &…                                            Supplement Drink Mix | Low…
                                        1 Count (Pack of 1)                                                  16 Count (Pack of 1)
                                                          1,391                                                              40,486
                                        $2495                                                                $2499 ($2.77/Ounce)

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                                        Better CC+ Cream                  Men, 2Oz (3 Pack) – Replaces       Supplement - for Joint
                                        Illumination, Light (W) - Color   Pre-Shave Oils, Shaving            Support, Digestion, Skin, Coat
                                        Correcting Cream, Full-…          Creams, Gels, and Foams –…         Care – Dog Vitamins, Mineral…
                                        1.08 Fl Oz (Pack of 1)                             555                               6,097
                                                          3,164           $
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                                        Creme Eye Shadow 3g (Nude         and Allergy Relief for Cats -      Eyeshadow Stick Set, Metallic
                                        Frost)                            All-Natural Supplement             And Shimmer Creamy Eye
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                              0.1 Ounce (Pack of 1) #:7624
                                                         Relieves Pet Allergies -…      Shadow Pen, High Pigmente…
                                                              256                                  553                    3 Count (Pack of 1)
                                                                                                                                             381
                                        $2000                                    $2799 ($0.06/Count)
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                                        Treatments – Look Less Tired             & Finishing Powder for Light,            Count
                                        and Reduce Wrinkles and Fin…             Medium & Tan Skin Tones,…                Softgels · 150 Count
                                                              10,814             1 Ounce (Pack of 1)                                         30,978
                                                                                                   6,373
                                        $1999 ($1.00/Count)                                                               $1089 $18.19
                                        $17.99 with Subscribe & Save             $
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                                        Tint - Organic Cream Blush -             Hold Glue False Eyelash                  Facial Rinse, 6.7 Fl oz
                                        100% Natural and Certified…              Eyebrow Adhesive. (1 Pack)               6.7 Fl Oz (Pack of 1)
                                                              167                                  2,999                                     142


                                        $2000 ($111.11/Ounce)                    $699                                     $3600 ($5.37/Fl Oz)

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                                        Facial Wash, 6.7 Fl oz                        Beauty Serum Trial Size                   Daily Skincare System with
                                        6.7 Fl Oz (Pack of 1)                         Skincare Set, Travel Kit, Face            Crème de Serum
                                                          1,761                       Moisturizer (15 g) & Smooth…                                    1,917
                                                                                                           52
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